!                         Case 1:24-cv-06017-LGS-JW                                            Document 1                       Filed 08/01/24                       Page 1 of 33

    !"#$%&'($)$%('&#($*#+$'+,!*$''
    (,!$-%*"'&#($*#+$',.'"%/'0,*1''
    222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222'3''
    1%440'5)+"%)46'' ''                                                                                          ''                         ''                          ''                        7''
    ''                         ''                         ''                          ''                         ''                         89:;<=;>>6''                                          7'' ''
    ''                         ''                         ''                          ''                         ''                         ''                          ''                        7''
    ''                         ''                         ''                          222:?:;<@=222''                                       ''                          ''                        7''
    ''                         ''                         ''                          ''                         ''                         ''                          ''                        7'' +,584)#"$''
    $-%'($)$%',.'"%/'0,*16'$-%'' ''                                                                                                                                     '''                       7''
    +#$0',.'"%/'0,*16'$-%'"%/'0,*1'($)$%' ''7'
    &#A#(#,"',.'-!5)"'*#B-$(6'$-%'"%/'0,*1''''7'
    +#$0'8,4#+%'&%8)*$5%"$6'$-%'"%/'0,*1'''''''7'
    +#$0'.#*%'&%8)*$5%"$'%5(6'+-%4(%)'C,-"6'''7'
    B#")'5)*$#"%D6''%4%")'8%*4,"B,6'C,-"'                                                                                                                                                       ''7'
    -%**#,"6'+)"&)+%'$0"&)446'4$E'+,*&%6'                                                                                                                                                       ''7'
    8E,E'+)($*,6'8E,E',*%44)")6'                                                                                                            '''                     '                           ''7'
    8E,E'F!#"$!")2B!)5)"6''C,-"'&,%'%5$'G' ''7'
    )"&'C,-"'&,%'%5$'HE'                                                                                         '                          '                       '                           ''7'
    '                          ''                         ''                          ''                         ''                         &I>I<J:<=K@L6'7''
    222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222222'3''
    ''
    89:<=;>>6'1I99M'5:N"I:96'NOPQ9:;<;<?'O>'=RI'&I>I<J:<=K@L6'$RI'(=:=I'O>'"IS'0OTU':<J'$RI'+;=M',>'"IS'

    0OTU':<J'=RO@I':?I<=@':<J'O>>;NIT@6'<:PIJ'RITI';<6'IPQ9OMIJ'VM':<JWOT':N=;<?';<':<'O>>;N;:9'N:Q:N;=M'>OT'

    $RI'(=:=I'O>'"IS'0OTU':<J'$RI'+;=M'O>'"IS'0OTU6':99I?I@':@'>O99OS@7''

                                                                               !"#$%&%'(")*+,(,#&#',*'
'
           GE 89:;<=;>>6'1I99M'5:N"I:96'VT;<?@'=R;@':N=;O<'!"#$%&'$$

           HE 89:;<=;>>'VT;<?@'=R;@'NOPQ9:;<='S;=R'<O=;NI'=O'=RI'NOXT='=R:=';=';@'TI9:=IJ'=O':N=;YI'N:@I'HZ2+A2

                  [\]^[6'VM'S:M'O>'=RI'NOPPO<'&I>I<J:<=6'=RI'+;=M'O>'"IS'0OTU6':<J'=RI'>:N='=R:='=RI;T'POTI'

                  TINI<=':N=;O<@'R:YI'JXQ9;N:=IJ6':<J':JJIJ'=O6'=RI'OT;?;<:9'O>>I<@I@'N9:;PIJ';<'=RI'I:T9;IT'

                  NOPQ9:;<=E''$RI'=SO'N:@I@':9@O'@R:TI'V:NU?TOX<J'>:N=@6':<J';='SOX9J':QQI:T'=RI'<IS'&I>I<J:<=6'

                  =RI'(=:=I'O>'"IS'0OTU6'R:@'JXQ9;N:=IJ'=RI'O>>I<@I@'O>'=RI'+;=M'O>'"IS'0OTU6'QITR:Q@'S;=R'

                  ;<=I<=;O<:9;=M'>OT'=RI'@:UI'O>'NO<=;<X;=M'OT'@O9;J:T;=M6'TI?:TJ9I@@'O>'ROS'P;@?X;JIJE''$

           ZE 89:;<=;>>'VT;<?@'=R;@':N=;O<':?:;<@='$RI'(=:=I'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'K;L'$RI'"IS'

                   0OTU'(=:=I'&;Y;@;O<'O>'-XP:<'*;?R=@'K_&-*`L6'K;;L'+RI9@I:'COR<6';<'RIT'O>>;N;:9'N:Q:N;=M':@'

                   &;TIN=OT6'&-*'-OX@;<?'#<YI@=;?:=;O<'!<;=6''K;;;L'%9I<:'8IT9O<?O6';<'RIT'O>>;N;:9'N:Q:N;=M':@'&-*'

                   -XP:<'*;?R=@'(QIN;:9;@='##6'-OX@;<?'#<YI@=;?:=;O<'!<;=6'K;YL'B;<:'5:T=;<Ia6';<'RIT'O>>;N;:9'N:Q:N;=M'



!                                                                                                           "!
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        :@'&-*'&IQX=M'+OPP;@@;O<IT6'KYL'+:<J:NI'$M<J:99';<'RIT'O>>;N;:9'N:Q:N;=M':@'&-*'8TO?T:P');JI'

        :<J'KY;L'COR<'-ITT;O<6';<'R;@'O>>;N;:9'N:Q:N;=M':@'&-*'&;TIN=OT'O>'&;@:V;9;=M'*;?R=@'$

    bE 89:;<=;>>':9@O'VT;<?@'=R;@':N=;O<':?:;<@='$RI'+;=M'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'K;L'$RI'

        "IS'0OTU'8O9;NI'&IQ:T=PI<='K_"08&`L6'K;;L'4=E'+OTJI';<'R;@'N:Q:N;=M':@':<'"08&'O>>;NIT6'K;;;L'8E,E'

        +:@=TO';<'R;@'N:Q:N;=M'O>':'"08&'O>>;NIT6''K;YL'8E,E',TI99:<:';<'R;@'N:Q:N;=M'O>':'"08&'O>>;NIT6'KYL'

        8E,E'FX;<=X<:2BX:P:<';<'R;@'N:Q:N;=M'O>':'"08&'O>>;NIT6'KY;L'$RI'"IS'0OTU'+;=M'.;TI'&IQ:T=PI<='

        cXTI:X'O>'%PIT?I<NM'5IJ;N:9'(ITY;NI@6'KY;;L'COR<'&OI'%5$'G';<'R;@'N:Q:N;=M'O>':<'.&"0'

        IPIT?I<NM'PIJ;N:9'=INR<;N;:<6'KY;;;L'COR<'&OI'%5$'H';<'R;@'N:Q:N;=M'O>':<'.&"0'IPIT?I<NM'

        PIJ;N:9'=INR<;N;:<E$

    \E 89:;<=;>>'VT;<?@'=R;@':N=;O<'=O'TIPIJM'&I>I<J:<=@d'X<9:S>X9'NO<@Q;T:NM'=O'JI<M'89:;<=;>>'RIT'T;?R=@'

        :>>OTJIJ'VM'=RI')PIT;N:<@'S;=R'&;@:V;9;=;I@')N='K)&)L':<J'=RI'.:;T'-OX@;<?')N='K.-)LE''

        &I>I<J:<=@6':@'@=:=I':N=OT@6'P;@TIQTI@I<=IJ'=RI'@NOQI'O>'=RI'9:S':<J'89:;<=;>>d@'T;?R=@6'X<JIT'

        NO9OT'O>'9:SE''$RI;T'>:;9XTI'=O'QTOQIT9M'I<>OTNI'=RI'9:S@'X9=;P:=I9M6'JI<;IJ'89:;<=;>>'IeX:9'

        QTO=IN=;O<'X<JIT'=RI'9:SE'$

    fE .:;9XTI'=O'O>>IT'9:S>X9'QTO=IN=;O<@'N:X@IJ'=RI'J;@:V9IJ'89:;<=;>>'=O'I<JXTI'Ig=TIPI'QRM@;N:9'Q:;<'

        >OT'POTI'=R:<':'MI:T6'VM'S:M'O>'NRTO<;N6'X<VI:T:V9I'P;?T:;<I@6'N:X@IJ':@'=RI'J;TIN='TI@X9='O>'

        ROX@;<?'NO<J;=;O<@'>TOP'SR;NR'89:;<=;>>'@OX?R='QTO=IN=;O<':<J'=RI';PQ:N='O>'=RO@I'NO<J;=;O<@'O<'

        89:;<=;>>d@'J;@:V;9;=M'K<:PI9M':'=T:XP:=;N'VT:;<';<hXTMLE$

    iE $RI'@IYITI'P;?T:;<I@'R:YI'VINOPI':'J:;9M6'9;>I':9=IT;<?':<J':?O<;a;<?9M'JIV;9;=:=;<?'@;=X:=;O<6'>OT'

        SR;NR'89:;<=;>>'@IIU@'VO=R'>X=XTI'TIN=;>;N:=;O<':<J'Q:@='NOPQI<@:=;O<E'''$

    ]E 89:;<=;>>6'NO<=I<J@'=R:='=RITI'Ig;@=@':'J;@NT;P;<:=OTM'V;:@':='&-*'SR;NR'QT;OT;=;aI@'N:@I@'=R:=':TI'

        V:@IJ'O<'T:NI6'?I<JIT6'@IgX:9'OT;I<=:=;O<':<J'O=RIT'_&;YIT@;=M6'%eX;=M':<J'#<N9X@;O<`'

        J;@NT;P;<:=;O<';@@XI@'=O'=RI'JI=T;PI<='O>'=RO@I'SRO':TI'J;@:V9IJj'NO<@=;=X=;<?':'<I='TI@X9='

        IeX;Y:9I<='=O'J;@NT;P;<:=;O<':?:;<@='=RO@I'S;=R'J;@:V;9;=;I@j':<J'J;@NT;P;<:=;O<':?:;<@='=RO@I'

        SRO':TI'<O=';<':'P;<OT;=M'T:NI'OT'@IgX:9'OT;I<=:=;O<'?TOXQE$

    ^E &-*'@ROSIJ':'JIQT:YIJ';<J;>>ITI<NI'=O'89:;<=;>>d@'@X>>IT;<?':<J'@=:=IJ6';<'Q9:;<'9:<?X:?I6'=R:='


!                                                     #!
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        =RIM'J;J'<O='N:TI'=R:='89:;<=;>>'S:@';<'QRM@;N:9'Q:;<'OT'=R:='@RI'S:@'J;@:V9IJE''$RIM'N9:;PIJ'=R:='

        =RI@I'N;TNXP@=:<NI@'SOX9J'<O=';<>9XI<NI'SRI=RIT'RIT'N:@I'SOX9J'VI'?;YI<':<M'QT;OT;=M'OT'VI'

        IgQIJ;=IJ';<':<M'P:<<IT'=O':99IY;:=I'RIT'QRM@;N:9'J;@=TI@@E'''#='IYI<':QQI:TIJ'=R:='89:;<=;>>d@'N:@I'

        S:@'JI2QT;OT;=;aIJ6':@';='=OOU'Z'PO<=R@'9O<?IT'=O'NO<N9XJI'KZ^\'J:M@L'=R:<'&-*d@'@=:=IJ'?O:9'=O'

        TI@O9YI':99'N:@I@'S;=R;<'Z[['J:M@E''89:;<=;>>'P:;<=:;<@'=R:='=RI'JI9:M@'SITI'PO=;Y:=IJ'VM'X<9:S>X9'

        J;@NT;P;<:=;O<E'$

    G[E &-*d@'JIQT:YIJ';<J;>>ITI<NI'=O'89:;<=;>>d@'QRM@;N:9'@X>>IT;<?':<J'=RI;T'J;@;<=ITI@=';<'RIT'N:@I6'S:@'

        IY;JI<='=RTOX?R'=RI'I<=;TI'QTONI@@6'XQ'=O':<J';<N9XJ;<?'&-*d@'>;<:9'JI=ITP;<:=;O<'J;@P;@@;<?'

        89:;<=;>>d@'NOPQ9:;<=E''.TOP'=RI'VI?;<<;<?6'&-*d@'NO<=IPQ='S:@'IY;JI<='SRI<'=RIM'_@:=`'O<'

        89:;<=;>>d@'NOPQ9:;<='>OT'POTI'=R:<':'PO<=R6'JI@Q;=I';='R:Y;<?'VII<'R:<JIJ'O>>'=O'=RIP'VM'=RI'!E(E'

        &IQ:T=PI<='O>'-OX@;<?':<J'!TV:<'&IYI9OQPI<='K-!&L'S;=R';<@=TXN=;O<@'=O':N='S;=R;<'Z['J:M@E''

        &-*'>XT=RIT'_@:=`'O<'89:;<=;>>d@'9:<J9OTJd@'TI@QO<@I'>OT'=RTII'PO<=R@6'VI>OTI'NO<=:N=;<?'89:;<=;>>'

        >OT':'TIVX==:9E'')<J':>=IT'=RI'TIVX==:9'S:@'@XVP;==IJ6'&-*'_@:=`'O<'=RI'N:@I'>OT':<O=RIT'@;g'

        PO<=R@'VI>OTI';@@X;<?':'@9OQQM6'9I?:99M'>9:SIJ':<J'<O<@I<@;N:9'J;@P;@@:9E$

    GGE $RI'@9:<=IJ'NO<=I<=6'?9:T;<?'OP;@@;O<@6':<J'>9:SIJ'9I?:9'QO@;=;O<'O>'&-*d@'J;@P;@@:9'@O'N9O@I9M'

        P;TTOT'=RI'QT;OT'STO<?>X9'J;@P;@@:9'R:<JIJ'JOS<'VM'=RI'"IS'0OTU'+;=M'+OPP;@@;O<'O<'-XP:<'

        *;?R=@'K++-*L6'=R:=';=':QQI:T@'&-*'S:@'V9;<J9M'TI;<>OTN;<?'=RI'OQ;<;O<'O>'=RI;T'TIN;QTON:9':?I<NME''

        !<>OT=X<:=I9M6'++-*'P:JI';='N9I:T'=R:='=RI;T'=TI:=PI<='O>'89:;<=;>>'S:@'TOO=IJ';<'T:N;:9'

        J;@NT;P;<:=;O<6'SR;NR'9IJ'=O'=RI'QT;OT'TI9:=IJ'@X;='VI;<?'>;9IJ';<'=R;@'NOXT=E'''$

    GHE +4"0'+R:Q=IT'G]')T=;N9I'G\'(IN=;O<'H^\'JI>;<I@'=RI'?I<IT:9'JX=;I@'O>'&-*E'''8:T='GZ'@=:=I@6'_$O'

        QTOPO=I'=RI'NTI:=;O<'O>'RXP:<'T;?R=@':?I<N;I@'VM'NOX<=;I@6'N;=;I@6'Y;99:?I@j`':<J'Q:T='Gf'@=:=I@6'

        _$O'R:YI'NO<NXTTI<='hXT;@J;N=;O<'S;=R'=RI'"IS'0OTU'+;=M'+OPP;@@;O<'O<'-XP:<'*;?R=@'OYIT'=RI'

        :JP;<;@=T:=;O<':<J'I<>OTNIPI<='j`'''&-*d@'TI9:=;O<@R;Q'=O'++-*'PX@='@XTI9M'P:UI'=RIP':S:TI'

        O>'++-*d@':N=;Y;=;I@':<J'U<OS9IJ?:V9I'O>'=RI':<=;2+:XN:@;:<'QIJ:?O?M'VI;<?'QTOPO=IJ':='++-*E''

        $RITI>OTI6'&-*d@':99;:<NI'S;=R'++-*';<'=RI;T'JIQT;Y:=;O<'O>'89:;<=;>>d@'T;?R=@'=O'IeX:9'QTO=IN=;O<'

        X<JIT')&)':<J'.-)'9:S6'P:UI'&-*d@'PO=;YI@'IeX:99M':@'eXI@=;O<:V9I':@'++-*6'IYI<';>'<O='@O'


!                                                      $!
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        OYIT=9M':<J'N9XP@;9M'IgQO@IJE'$

    GZE 89:;<=;>>'VT;<?@'=R;@':N=;O<'=O'TIPIJM'&-*':N=;<?';<':'TI=:9;:=OTM'P:<<IT'=OS:TJ'=RI'89:;<=;>>'

        SRI<'@RI'NOPQ9:;<IJ'O>'JI9:M@E''(XNR'TI=:9;:=;O<';<N9XJIJ'>:9@I9M'TIQOT=;<?'89:;<=;>>'=O'

        _:X=ROT;=;I@`':@'VI;<?'@X;N;J:9':<J';<;=;:=;<?':<'X<9:S>X9'8O9;NI':N=;O<E'$

    GbE 89:;<=;>>'VT;<?@'=R;@':N=;O<'=O'TIPIJM'&-*'QIT@O<<I9'N:X@;<?6'=RTOX?R'>:9@I':<J'P;@9I:J;<?'

        @=:=IPI<=@6'=RI'Y;O9:=;O<'O>'89:;<=;>>d@'T;?R=@'O>'JXI'QTONI@@'S;=R'GL'X<9:S>X9'JI=I<=;O<':<J'

        X<9:S>X9';PQT;@O<PI<=6'HL'X<9:S>X9'I<=TM';<=O'89:;<=;>>d@'ROPI6';<'RIT':V@I<NI6'S;=ROX=':'

        S:TT:<=6':<J'ZLX<9:S>X9'@I:TNR'O>'QT;Y:=I'QTOQIT=M':<J'Q:QIT@E$

    G\E 89:;<=;>>'VT;<?@'=R;@':N=;O<'=O'TIPIJM'"08&d@'Q:==IT<'O>'VIR:Y;OT';<'X@;<?'=RI'QOSIT'O>'=RI;T'

        O>>;NI'=O'R:T:@@':<J';<=;P;J:=I'89:;<=;>>'O<'<XPITOX@'ONN:@;O<@6'OYIT':'QIT;OJ'O>'MI:T@E''(XNR'

        VIR:Y;OT'R:@'VII<'JO<I6'X<JIT'NO9OT'O>'9:S6';<'>XT=RIT:<NI'O>':;J;<?':<J':VI==;<?'89:;<=;>>d@'

        9:<J9OTJ';<'=RI;T':==IPQ=@':=';<=;P;J:=;<?':<J'R:T:@@;<?'89:;<=;>>E''$

    GfE $R;@':N=;O<';@'VTOX?R=6'S;=R'TI?:TJ'=O'&I>I<J:<=@'"IS'0OTU'+;=M6'"08&':<J'"0.&'%5(6'>OT'=RI;T'

        :N=;O<@'O<'5:M'H6'H[HZ':<J'5:MZ6'H[HZ'SRI<'=RIM6'S;=ROX='@X>>;N;I<='N:X@I6'X<9:S>X99M'TIPOYIJ'

        89:;<=;>>'>TOP'RIT'TI@;JI<NI6'>:9@I9M'JI=:;<IJ':<J';PQT;@O<IJ'RIT':<J'Y;O9:=IJ'89:;<=;>>d@'T;?R=@'O>'

        JXI'QTONI@@E'$

    GiE $R;@':N=;O<';@':9@O'VTOX?R=6'S;=R'TI?:TJ'=O'&I>I<J:<=@'"IS'0OTU'+;=M6'"08&':<J'"0.&'%5('>OT'

        IgR;V;=;<?':'Q:==IT<'O>'VIR:Y;OT6'SRITI'VM6'O<'POTI'=R:<'O<I'ONN:@;O<6'=RIM'R:YI6'S;=ROX='

        @X>>;N;I<='N:X@I6'X<9:S>X99M'TIPOYIJ'89:;<=;>>'>TOP'RIT'TI@;JI<NI6'>:9@I9M'JI=:;<IJ':<J'

        ;PQT;@O<IJ'RIT':<J'Y;O9:=IJ'89:;<=;>>d@'T;?R=@'O>'JXI'QTONI@@E'$

    G]E $R;@':N=;O<';@'VTOX?R='=O'TIPIJM'"08&d@'X<9:S>X9'I<=TM';<=O'89:;<=;>>d@':Q:T=PI<=';<'RIT':V@I<NI'

        :<J'=RI'X<9:S>X9'@I:TNR'O>'RIT'QT;Y:=I'Q:QIT@':<J'QTOQIT=M'S;=ROX=':'S:TT:<='O<'5:M'H6'H[HZE''''''$

    G^E 89:;<=;>>'@IIU'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'QRM@;N:9':<J'IPO=;O<:9'Q:;<':<J'@X>>IT;<?'

        @X@=:;<IJ':<J'I<JXTIJ'JXI'=O'&I>I<J:<=@d' >:;9XTI'=O'I<>OTNI')&)':<J'.-)'9:S@':<J'>OT'

        &I>I<J:<=@'NO<@Q;T;<?'=O'JI<M'89:;<=;>>'IeX:9'QTO=IN=;O<'X<JIT'=RI'9:SE'$

    H[E 89:;<=;>>'@IIU'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'I?TI?;OX@'Y;O9:=;O<@'O>'89:;<=;>>d@'N;Y;9':<J'


!                                                     %!
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        J;@:V;9;=M'T;?R=':<J'=RI'Y;O9:=;O<'O>'RIT'T;?R=@'O>'JXI'QTONI@@E$

    HGE 89:;<=;>>'>XT=RIT'@IIU@'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'Ig=TIPI'IPO=;O<:9'J;@=TI@@6'

        N:X@;<?'=ITTOT':<J'9:@=;<?'IPO=;O<:9':<J'Q@MNRO9O?;N:9'R:TPE$

    HHE '89:;<=;>>'>XT=RIT'@IIU@'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'QXV9;N'IPV:TT:@@PI<=':<J'

        J:P:?I'=O'TIQX=:=;O<E$

                                                           *

                                                    !(",%#+$

    HZE 89:;<=;>>6'1I99M'5:N"I:96'TI@;JI@':='\[i'/'H]=R' (=TII=6' ;<'=RI'@=:=I'O>'"IS0OTU6';<'=RI'NOX<=TM'O>'

        "IS'0OTU':<J';@':'N;=;aI<'O>'=RI'!<;=IJ'(=:=I@E$

    HbE 89:;<=;>>';@':'+:XN:@;:<'>IP:9I':<J'R:@'VII<'N9:@@;>;IJ':@'QRM@;N:99M'J;@:V9IJ'VM'=RI'(ON;:9'(INXT;=M'

        )JP;<;@=T:=;O<'@;<NI')QT;9'H[G\E$

    H\E &I>I<J:<=';@'=RI'+;=M'O>'"IS'0OTU6':'PX<;N;Q:9'I<=;=ME$

    HfE &I>I<J:<=';@'=RI'(=:=I'O>'"IS'0OTU':'PX<;N;Q:9'I<=;=ME$

    HiE &I>I<J:<='$RI'"IS'0OTU'&;Y;@;O<'O>'-XP:<'*;?R=@'Kk&-*`L';@':'9I?:9'I<=;=M':<J':'@XVJ;Y;@;O<'O>'

        =RI'(=:=I'O>'"IS'0OTUE$

    H]E &I>I<J:<=@'+RI9@I:'COR<6'%9I<:'8IT9O<?O6'B;<:'5:T=;<Ia6'+:<J:NI'$M<J:99':<J'COR<'-ITT;O<':TI'

        IPQ9OMII@'O>'&-*E$

    H^E &I>I<J:<=@'=RI'"IS'0OTU'8O9;NI'&IQ:T=PI<=':<J'=RI'"IS'0OTU'+;=M'.;TI'&IQ:T=PI<='cXTI:X'O>'

        %PIT?I<NM'5IJ;N:9'(ITY;NI@':TI'J;Y;@;O<@'O>'=RI'+;=M',>'"IS'0OTUE$

    Z[E &I>I<J:<=@'4=E'+OTJI6'8E,E'+:@=TOE'8E,E',TI99:<:'6'8E,E'FX;<=X<:2BX:P:<'6'COR<'&OI'%5$'G':<J'

        COR<'&OI'%5$'H':TI'IPQ9OMII@'O>'=RI'+;=M'O>'"IS'0OTU$

                                                       *

                                        -."%+/%0,%1''('/'2#'.#$

    ZGE 'CXT;@J;N=;O<';@'QTOQIT';<'>IJIT:9'NOXT='X<JIT'>IJIT:9'eXI@=;O<'hXT;@J;N=;O<$

    ZHE 'AI<XI';@'QTOQIT';<'=RI'(OX=RIT<'&;@=T;N='O>'"IS'0OTU'VIN:X@I'=RI'IYI<=@'9I:J;<?'=O'=R;@'



!                                                     &!
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       :N=;O<'=OOU'Q9:NI';<'(&"0'hXT;@J;N=;O<E'

    ZZE '$R;@'NOXT='R:@'hXT;@J;N=;O<'X<JIT'=RI'@=:=I'9:S'N9:;P@'X<JIT'@XQQ9IPI<=:9'hXT;@J;N=;O<E'

                                                        *

                                           +,(,#&#','13'3(0,+'

                 !"#$%&'()*+,-"*.)%+/'+0,".)/.1123+.)/-&"#/.')3+4./5+6-1-)*")/+678'

    ZbE '89:;<=;>>'TI@;JI@';<':<'_:>>OTJ:V9I'X<;=`';<':'VX;9J;<?'@XV@;J;aIJ'VM'=RI'"IS'0OTU'(=:=I'bHG222

       :'=:g':V:=IPI<='QTO?T:P6'SR;NR'QTOPO=I@'P;gIJ';<NOPI'ONNXQ:<NM'K:QQOT=;O<IJ'][l'

       P:TUI='T:=IWH[l':>>OTJ:V9ILE'

    Z\E '89:;<=;>>d@'9I:@I'VI?:<'O<'(IQ=IPVIT'H\6'H[GiE'

    ZfE '89:;<=;>>d@':Q:T=PI<=';@'OYIT@II<'VM'-OX@;<?'8TI@ITY:=;O<':<J'&IYI9OQPI<='K-8&L':<J';@'

       JI@;?<:=IJ':@6'<O='O<9M':<'_:>>OTJ:V9I'X<;=`6'VX=':9@O'@QIN;>;N:99M':'_J;@:V;9;=M'X<;=`m':<J6'S:@'

       :S:TJIJ'=O'89:;<=;>>';<':'QXV9;N'9O==ITM'O<'=RI'V:@;@'O>'RIT'J;@:V;9;=ME'

    ZiE 89:;<=;>>d@'9:<J9OTJ';@'>X99M':S:TI'O>'89:;<=;>>d@'J;@:V;9;=M'@=:=X@':<J'=RI'

       _J;@:V;9;=M`'@=:=X@'O>'=RI'89:;<=;>>d@'@QIN;>;N':Q:T=PI<='X<;='S;=R;<'=RI'VX;9J;<?E''$RI'89:;<=;>>d@'

       :Q:T=PI<='X<;=';<N9XJI@'SRII9NR:;T':NNI@@;V9I':QQ9;:<NI@':<J'@RI9Y;<?':@'SI99':@':JJ;=;O<:9'

       @:>I=M'>I:=XTI@';<N9XJI'?T:V222'V:T@';<'=RI'V:=RTOOP'>OT'POV;9;=M':@@;@=:<NI':<J'>9:@R;<?'9;?R=@'

       O<'=RI'>;TI''

    '''''':9:TP'>OT'RI:T;<?222;PQ:;TIJ'QIT@O<@E'

    Z]E 89:;<=;>>d@'9I:@I6':<J':99'9I:@I@';<'=RI'VX;9J;<?6'NO<=:;<':'_<O'@POU;<?`'N9:X@I'=R:='N9:@@;>;I@'

       =RI'I<=;TI'VX;9J;<?6';<N9XJ;<?'=RI';<=IT;OT'O>';<J;Y;JX:9'X<;=@6':@'_@POUI222>TIIE`'

    Z^E 89:;<=;>>'@X>>ITIJ':'=T:XP:=;N'VT:;<';<hXTM6'SR;NR';@'Q:T='O>'RIT'J;@:V;9;=ME''$R;@'VT:;<';<hXTM'

       R:@'P:JI'89:;<=;>>'R;?R9M'@X@NIQ=;V9I'=O'P;?T:;<I@':<J'YIT=;?O'=T;??ITIJ'VM'IgQO@XTI'=O'

       NRIP;N:9';TT;=:<=@';<N9XJ;<?'N;?:TI==I'@POUI':<J'Y:QI'>XPI@E''$R;@'P:UI@'=RI'_<O2@POU;<?`'

       N9:X@I'O>'89:;<=;>>d@'9I:@I':'<INI@@;=M':<J'<O='@;PQ9M':'QTI>ITI<NIE''

    b[E 8TO=IN=;O<6'>OT'NRIP;N:99M'@I<@;=;YI'J;@:V9IJ'QIT@O<@6'>TOP'@INO<J222R:<J'@POUI':<J'

       NRIP;N:9'>XPI@';@'NOYITIJ'X<JIT'=RI'.:;T'-OX@;<?')N=E'


!                                                       '!
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    bGE 89:;<=;>>d@':Q:T=PI<='NO<J;=;O<@':<J'RIT'TI9:=;O<@R;Q'S;=R'RIT'9:<J9OTJ'SITI':<'IgITN;@I';<'

       Q:=;I<NI':<J'=O9IT:<NI'K@II'.XT=RIT'c:NU?TOX<J'VI9OSL'>TOP'J:M'O<IE'

    bHE cX='=R;<?@'VIN:PI'=TX9M'X<:NNIQ=:V9I'SRI<'89:;<=;>>d@'TI:9;aIJ'RIT'NRTO<;N'P;?T:;<Id@'>TOP'RIT'

       =T:XP:=;N'VT:;<';<hXTM'R:J'VINOPI'@O';<=T:N=:V9I6'@;<NI'POY;<?';<=O'=RI'VX;9J;<?6'VIN:X@I'O>'

       QOSIT>X9'>OTP:9JIRMJI'>XPI@'=R:='SITI'@:=XT:=;<?'RIT':Q:T=PI<='IYITM'<;?R=':@'@RI'@9IQ=E'

    bZE $RI'JOS<@=:;T@'<I;?RVOT'S:@'RI:=;<?':'>9OOT'N9I:<IT'N:99IJ'.:VX9O@O':<J'X@;<?';='=O'NOYIT'=RI'

       @PI99'O>'9I:@I222Y;O9:=;<?'N;?:TI==I'@POUIE'

    bbE 89:;<=;>>d@'Q9I:@'=O'P:<:?IPI<='>OT'TI9;I>'SITI'@NO>>IJ':=E'

    b\E '89:;<=;>>'S:@'?I==;<?'@;NUIT':<J'@;NUIT'I:NR'J:ME'

    bfE ,<')QT;9'i6'H[G]6':>=IT':'SIIU'O>'Y;O9I<=9M'=RTOS;<?'XQ'>TOP'=RI'QOSIT>X9'>XPI@'I<=IT;<?'RIT'

       :Q:T=PI<=':<J'VI;<?'=OO'J;aaM'=O'@=:<J'XQ6'89:;<=;>>'R:J'=O'N:99':<':PVX9:<NI'=O'=:UI'RIT'=O'=RI'

       RO@Q;=:9E'' )<J'SR;9I'=RI'RO@Q;=:9'<O=IJ'RIT'J;aa;<I@@6';='<IIJ@'=O'VI':NU<OS9IJ?IJ'=R:='

       89:;<=;>>d@'NO<J;=;O<';PPIJ;:=I9M'VI?:<'=O';PQTOYI'XQO<'TIPOY:9'>TOP'RIT':Q:T=PI<=d@'=Og;N'

       I<Y;TO<PI<=E'

    biE )>=IT'=RI'RO@Q;=:9'Y;@;=6'89:;<=;>>' =T;IJ':?:;<'=O'TIP;<JIJ'RIT'9:<J9OTJ'O>'=RI'Q:T:PI=IT@'O>'RIT'

       J;@:V;9;=M6';<N9XJ;<?'RIT'RI:J';<hXTM6':<J'RIT'<IIJ'O>'@QIN;:9':NNOPPOJ:=;O<@'=O'QTO=IN='RIT'>TOP'

       P;?T:;<I'=T;??IT;<?'NRIP;N:9'>XPI@j';<N9XJ;<?'@POU;<?':<J'Y:Q;<?j':<J'=RI';<NTIJ;V9M'=Og;N'

       :<J'J:<?ITOX@'_O>>29:VI9`'X@I'O>':'>9OOT'N9I:<IT'RIT'<I;?RVOT'S:@'X@;<?'=O'NOYIT'=RI'@PI99'O>'

       @POUIE'

    b]E E'#='PX@=':9@O'VI'<O=IJ'=R:='89:;<=;>>'J;J6';<'>:N=6'O<'<XPITOX@'ONN:@;O<@'@PI99'=RI':N=X:9'@POUI'=RI'

       <I;?RVOT'S:@'=TM;<?'=O'R;JI'S;=R'=RI'.:VX9O@OE'

    b^E 89:;<=;>>'=RI<'@XQQ9;IJ'RIT'9:<J9OTJ'S;=R'=RI':VOYI'TI>ITI<NIJ'RO@Q;=:9'TINOTJ@6':9O<?'S;=R':'

       VT:;<'5*#'TIQOT='>TOP'5:TNR'Hi6'H[G]6'SR;NR'<O=IJ':<OP:9;I@'NO<@;@=I<='S;=R'QRM@;N:9'IY;JI<NI'

       O>'=RI'P;?T:;<I@'89:;<=;>>'R:J'VII<'NOPQ9:;<;<?':VOX=E'

    \[E )>=IT'VI;<?'=RTI:=I<IJ'S;=R'9I?:9':N=;O<6'89:;<=;>>d@'9:<J9OTJ':?TIIJ'=O':'PIJ;:=;O<'QTONI@@';<'9:=I222

       )QT;9'H[G]E'


!                                                     (!
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    \GE '$RI'>XPI@'@=OQQIJ'

    \HE -OSIYIT6'NRTO<;N'S:99'J:P:?;<?'S:=IT'9I:U@'Q9:?XIJ'89:;<=;>>d@':Q:T=PI<=j'Hb'9I:U@';<'@;g'

       MI:T@j'=O'=RI'J:=I'O>'=R;@':N=;O<E'K@II'.XT=RIT'c:NU?TOX<J'VI9OSL':<J'=RI'TI9:=;O<@R;Q'VI=SII<'

       89:;<=;>>':<J'P:<:?IPI<='NO<=;<XIJ'=O'JI=IT;OT:=IE'

    \ZE 89:;<=;>>'S:@'>OTNIJ'=O'N:99'=RI'&IQ:T=PI<='O>'cX;9J;<?@'K&,cL'SRI<'S:=IT'UIQ='@IIQ;<?'

       =RTOX?R'Ig=IT;OT'S:99@'O>'=RI'VX;9J;<?';<=O'=RI';<=IT;OT'O>'89:;<=;>>d@':Q:T=PI<=E')<J'O<')QT;9'Hi6'

       H[G]'=RI'&,c';@@XIJ'=RI'9:<J9OTJ':'@XPPO<@'>OT'_>:;9XTI'=O'P:;<=:;<'VX;9J;<?';<'NOJI'

       NOPQ9;:<='P:<<IT`6'TI@X9=;<?';<':'>;<I'O>'nH\[E'

    \bE CX<I'Hi6'H[G]'S:@'=RI'9:=I@='J:=I'VM'SR;NR'=RI'9:<J9OTJ'S:@'TIeX;TIJ'=O'?;YI'89:;<=;>>'RIT'

       TI<IS:9'9I:@IE''-OSIYIT6'<O='O<9M'S:@'=RI'9:<J9OTJ'>:;9;<?'=O'@I<J'=RI'TI<IS:9';<':'=;PI9M'

       P:<<IT6'VX=':>=IT':9PO@=':'MI:T6'R:J'@=;99'TI>X@IJ'=O'TI=XT<'=RI'OT;?;<:9'NOX<=IT2@;?<IJ'9I:@IE''

    \\E /RI<'=RI'9I:@I'TI<IS:9'>;<:99M':TT;YIJ6';=';<N9XJIJ'@IYIT:9';99I?:9'N9:X@I@':JJIJ'=O':'T;JIT6'

       SR;NR'SOX9J':99OS'=RI'9:<J9OTJ'=O'N:QT;N;OX@9M'TI=T:N='=RI':>>OTJ:V9I'TI<='=R:='R:J'VII<'

       :JYIT=;@IJ';<'=RI'9O==ITME'')99'=RI':>>OTJ:V9I':Q:T=PI<=@';<'=RI'VX;9J;<?'R:J'VII<'TIQOT=IJ'=O'=RI'

       TI<='@=:V;9;a:=;O<':X=ROT;=M':@'R:Y;<?'_QTI>ITI<=;:9'TI<=@`'SR;9I'=RI':N=X:9'TI?;@=ITIJ'_@=:V;9;aIJ'

       TI<=`'S:@'N9:;PIJ'=O'VI'\[l'R;?RITE''89:;<=;>>'TIQOT=IJ'=R;@'=O'-OX@;<?'8TI@ITY:=;O<':<J'

       &IYI9OQPI<='K-8&L6'=RI':?I<NM'TI@QO<@;V9I'>OT'OYIT@II;<?'=RI'9O==IT;I@':<J':>>OTJ:V9I'ROX@;<?'

       QTO?T:P@E''$RI':?I<NM'9:SMIT@'@=IQQIJ';<':<J'>OTNIJ'89:;<=;>>d@'9:<J9OTJ'=O'TIPOYI'=RI'

       X<9:S>X9'N9:X@I@E'

    \fE $RI<'=RI'>TO<='J;@:V;9;=M'JOOT@'VI?:<'VTI:U;<?'JOS<'O<':'TI?X9:T'V:@;@'j':<J'TIP:;<;<?'VTOUI<'

       >OT'PO<=R@':=':'=;PIE''89:;<=;>>d@'NOPQ9:;<=@':VOX='=RI'JOOT@'SITI'PI='S;=R'T;J;NX9I':<J'PONUITME'

    \iE )>=IT'MI:T@'O>'I@N:9:=;<?'NO<>TO<=:=;O<@6'=RI'=TI:=PI<='O>'89:;<=;>>'VIN:PI'=TX9M':VX@;YIE''

       5:<:?IPI<=';<@=TXN=IJ'VX;9J;<?'@=:>>'=O';?<OTI'89:;<=;>>':<J':<M'O>'RIT'NOPQ9:;<=@E''89:;<=;>>'

       S:@'TI?X9:T9M'TI>X@IJ'=RI'TI@QIN=':<J'@ITY;NI@':>>OTJIJ'O=RIT'=I<:<=@E'

    \]E 'cX;9J;<?'@=:>>'SITI'=O9J'=O'<O='@QI:U'=O'89:;<=;>>6'VX='=O'hX@='TI>IT'RIT'=O'=RI'O>>;NI'O<'4O<?'#@9:<JE'''




!                                                       )!
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       )='SR;NR'QO;<=6'=RI'4O<?'#@9:<J'P:<:?IPI<='=I:P'SOX9J'TI>X@I'=O':<@SIT'=RI'QRO<I'OT'TI=XT<'

       YO;NIP:;9'OT'IP:;9'PI@@:?I@E'

    \^E $RI'OV<Og;OX@'VIR:Y;OT'=OOU':'Q:T=;NX9:T9M'RXP;9;:=;<?'=XT<'O<')QT;9'H^6H[HG6'S;=R':'

       NO<>TO<=:=;O<'VI=SII<'O<I'O>'=RI'JOOTPI<':<J'=RI'89:;<=;>>E' #='NO<NIT<IJ'=RI'VTOUI<'J;@:V;9;=M'

       I<=T:<NI'JOOT@E' $RI'JOOTP:<'PONUIJ'=RI'89:;<=;>>d@'<IIJ'=O'X@I'=RI'JOOT@':<J'TI>X@IJ'=O'OQI<'

       =RIP'SR;9I'9I:Y;<?'RIT'@=:<J;<?'OX=@;JI';<'=RI'T:;<E''/RI<'=RI'JOOT@':TI'VTOUI<6':@'=RIM'SITI':='

       =R:='=;PI6'=RI'JOOTP:<'PX@='>OTNI'=RIP'OQI<IJ'S;=R'VO=R'R:<J@E''$RIM':TI'@9;J;<?'JOOT@'S;=ROX='

       R:<J9I@'>OT'P:<X:9'X@I'SRI<'X<:;JIJ'VM'=RI'I9IN=TO<;N'PINR:<;@PE'

    f[E '89:;<=;>>d@'@XV@IeXI<='NOPQ9:;<=':?:;<@='=RI'VX;9J;<?':<J'=RI'JOOTP:<'@I='O>>'SR:='89:;<=;>>'R:@'

       QITNI;YIJ'=O'VI':'NO<NIT=IJ'I>>OT='=O'R:T:@@'RIT'OX='O>'=RI'VX;9J;<?E'

    fGE cM'CX<I'H[HG'=RI'>XPI@'I<=IT;<?'89:;<=;>>d@':Q:T=PI<='R:J'TI=XT<IJ':@':'J:;9M6'NRTO<;N'QTOV9IP'

       :<J'=ROX?R6':99'9I:@I@';<'=RI'VX;9J;<?'NO<=:;<'_<O222'@POU;<?`'T;JIT@6'P:<:?IPI<='<O='O<9M'TI>X@IJ'

       =O':@@;@='89:;<=;>>';<'@=OQQ;<?'=RI'@OXTNI'O>'=RI'>XPI@6'VX='T:<';<=IT>ITI<NI'=O'QTO=IN='=RI'Y;O9:=OTE'

    fHE 5:<:?IPI<='>:N;9;=:=IJ'=RI'9I:@I'Y;O9:=;<?':N=;Y;=M'VM'9M;<?'O<'<XPITOX@'ONN:@;O<@'=O'VO=R'=RI'

       89:;<=;>>':<J'RIT'XQ@=:;T@'<I;?RVOT6'SRO'S:@':9@O'@X>>IT;<?';99'I>>IN=@'>TOP'=RI'>XPI@E'

    fZE 5:<:?IPI<='NOPQ9I=I9M';?<OTIJ'89:;<=;>>d@'J;@:V;9;=M'<IIJ@'=O'VI'QTO=IN=IJ'>TOP'IgQO@XTI'

       =O'=RI'NRIP;N:9@'I<=IT;<?'RIT':Q:T=PI<=E''$RIM'PONUIJ'89:;<=;>>d@'=I:T>X9'Q9I:@':<J'

       PX9=;Q9I'TIeXI@=@'>OT':<'_:NNOPPOJ:=;O<`'=O'@;PQ9M'I<>OTNI'=RI'Ig;@=;<?'<O2@POU;<?'

       QO9;NM'O>'=RI'VX;9J;<?E'''5:<:?IPI<=':<J'=RI'@XQIT;<=I<JI<='KSRO'<OS'N:TT;IJ':'QIT@O<:9'

       YI<JI==:':?:;<@='89:;<=;>>'>OT'RIT'NOPQ9:;<=@':?:;<@='R;PL'SOX9J'9;I'=O'89:;<=;>>':VOX='

       P:U;<?'I>>OT=@'=O';<YI@=;?:=I':<J'NO<=;<X:99M'N9:;P'=R:='89:;<=;>>'S:@'IgQIT;I<N;<?'

       @OPI=R;<?'=RIM'NOX9J'<O='JI=IN=E'''

    fbE $R;@'NO<=;<XIJ'IYI<':>=IT'89:;<=;>>'QXTNR:@I':<':;T'eX:9;=M'PO<;=OT'=O'QTOYI'=Og;N'>XPI@'SITI'

       I<=IT;<?'RIT':Q:T=PI<='j':<J':='SR:='=;PI@'O>'J:ME''$RI'PO<;=OT'NO<>;TPIJ'=RI'J:;9M'9:=I2

       <;?R=':N=;Y;=M'89:;<=;>>'R:J'VII<'TIQOT=;<?E'')<J'89:;<=;>>'@XQQ9;IJ'=RI'J:=:'=O'P:<:?IPI<=E''

       (=;996'5:<:?IPI<='TI>X@IJ'=O';<YI@=;?:=I'JXT;<?'=RI'=;PI@'=RI'>XPI@'SITI':='=RI;T'SOT@='


!                                                    *!
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       K>TOP'GH':EPE'=O'b':EPELE'')<J'IYI<'=ROX?R'=RI'@XQIT;<=I<JI<='9;YIJ';<'=RI'VX;9J;<?6'RI'

       TI>X@IJ'=O'NOOQIT:=I':='=R:='ROXTE''-I'TI>X@IJ'=O':99OS':<M'@=:>>'=O'J;@=XTV'R;P':>=IT'\'QEPE'

       X<9I@@'=RITI'S:@':'VX;9J;<?'IPIT?I<NME''$RI'@XQIT;<=I<JI<=d@'9:NU'O>'PO=;Y:=;O<'S:@'

       NOPQOX<JIJ'VM'R;@'R:=TIJ'O>'89:;<=;>>':<J'=RI'>:N='=R:='RI'S:@'R;P@I9>':'@POUIT':<J'@O'

       TI@I<=IJ'=RI'<O2@POU;<?'QO9;NM';<'=RI'VX;9J;<?E'

    f\E 5:<:?IPI<='@ROSIJ':'JIQT:YIJ';<J;>>ITI<NI'=O'89:;<=;>>':<J'RIT'J;@:V;9;=M'<IIJ@'SRI<'=RIM'

       TI>X@IJ'=O'@;PQ9M'I<>OTNI'=RI;T'OS<'_<O222@POU;<?`'QO9;NM6'JI@Q;=I'VI;<?'P:JI':S:TI'O>'89:;<=;>>d@'

       9IYI9'O>'Q:;<'>TOP'P;?T:;<I@'=T;??ITIJ'VM'=RI'>XPI@E'

    ffE 89:;<=;>>d@'9:<J9OTJ'=RI<'TI>X@IJ'=O'Q:T=;N;Q:=I';<':'@INO<J'PIJ;:=;O<'TIeXI@=':<J'TI>X@IJ'=O'

       I<?:?I';<'?OOJ'>:;=R';<':<M'>XT=RIT'PI:<;<?>X9'<I?O=;:=;O<@'J;TIN=9M'S;=R'89:;<=;>>E' '

    fiE $RI'9IYI9'O>'J;@=TI@@'=RI'>XPI@'N:X@IJ'89:;<=;>>6'VIN:X@I'O>'RIT'J;@:V;9;=M6';<NTI:@;<?9M':QQI:TIJ'

       =O'VI':'NO<YI<;I<='@OXTNI'O>'R:T:@@PI<='=RI'9:<J9OTJ'R:J'@=XPV9IJ'XQO<':<J'=RIM'SITI'X@;<?';='

       =O'>OTNI'89:;<=;>>'OX='O>'=RI'VX;9J;<?E'

    f]E '#<')QT;9'H[HH6'89:;<=;>>d@'XQ@=:;T@'<I;?RVOT6'POYIJ'=O':<O=RIT':Q:T=PI<=';<'=RI'VX;9J;<?'=O'

       I@N:QI'=RI'>XPI@E' -IT'QTOV9IP6';TO<;N:99M6'?O='SOT@IE' #<')QT;9'H[HZ6'=O'QTO=IN='RIT'NR;9JTI<d@'

       RI:9=R6'@RI'POYIJ'RIT'>:P;9M'OX='O>'=RI'VX;9J;<?':9=O?I=RITE''

    f^E ',<'5:TNR'HH6'H[HH6':@'=RI'NO<J;=;O<@';<'89:;<=;>>d@':Q:T=PI<='N:X@IJ'RIT'RI:9=R'=O'NO<=;<XI'=O'

       JI=IT;OT:=;<?':<J'RIT'QRM@;N:9'Q:;<':<J'IPO=;O<:9'J;@=TI@@'VIN:PI'@O'X<VI:T:V9I':@'=O'VI'

       I>>IN=;<?'RIT':V;9;=M'=O'9;YI';<'QI:NI':<J'>X<N=;O<';<'9;>I6'89:;<=;>>':QQTO:NRIJ'$RI'"IS'0OTU'+;=M'

       +OPP;@@;O<'O<'-XP:<'*;?R=@'K++-*L6'@IIU;<?'QTO=IN=;O<':<J':@@;@=:<NI'S;=R'>;9;<?')PIT;N:<@'

       S;=R'&;@:V;9;=;I@')N=''K)&)L':<J'.:;T'-OX@;<?')N='K.-)L'N9:;P@':?:;<@='RIT'9:<J9OTJE'

    i[E $RI'NOTI'O>'89:;<=;>>d@'TIeXI@='>OT'QTO=IN=;O<'NI<=ITIJ'O<7'
'
          :E' =RI'=Og;N'>XPI@'I<=IT;<?'RIT':Q:T=PI<=''' :<J'' =T;??IT;<?'

          P;?T:;<I@'

          VE'''NRTO<;N:99M'VTOUI<'J;@:V;9;=M'I<=T:<NI'

          NE' J;@NT;P;<:=;O<':<J':VX@I'VM'P:<:?IPI<='V:@IJ'O<'89:;<=;>>d@':>>OTJ:V9I'=I<:<='


!                                                     "+!
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              @=:=X@'

          JE'''TI=:9;:=;O<'JXI'=O'OX=@;JI'NOPQ9:;<=@'>;9IJ'S;=R'=RI'&IQ:T=PI<='O>'cX;9J;<?@':<J'-8&'

              :<J';<=IT<:9'NOPQ9:;<=@'>;9IJ':?:;<@='=RI'@XQIT;<=I<JI<=':<J'NIT=:;<'@=:>>'PIPVIT@E'

    iGE !<>OT=X<:=I9M6'++-*'TI>X@IJ'=O'=:UI'89:;<=;>>d@'N9:;P@'@IT;OX@9M':<J'TI>X@IJ'@XV@=:<=;:9'RI9Q'OT'

       :<M'9I?:9'TIQTI@I<=:=;O<'VIN:X@I'89:;<=;>>'S:@'<O=':'T:N;:9'P;<OT;=ME'''$R:='T:N;:9'J;@NT;P;<:=;O<';<'

       <OS'=RI'@XVhIN='O>':'9:S@X;=':N=;YI9M'>;9IJ';<'=R;@'NOXT='KHZ2+A2[\]^[LE'

    iHE )>=IT'89:;<=;>>'P:JI';='N9I:T'=R:='@RI';<=I<JIJ'O<'=:U;<?':N=;O<':?:;<@='++-*'>OT'T:N;:9'

       J;@NT;P;<:=;O<6'@RI'@I<='=RIP':'@:TN:@=;N6':<?TM'IP:;9';<eX;T;<?'SRI=RIT'=RIM'@;PQ9M'IgQIN=IJ'

       89:;<=;>>'=O'NO<=;<XI'9;Y;<?';<':?O<;a;<?'Q:;<E''89:;<=;>>'=RI<'P:JI':'V9:NU'RXPOTIJ'hOUI'@X??I@=;<?'

       =R:=6';>'@RI'S:@'@P:T=IT6'@RI'@ROX9J'hX@='U;99'RIT@I9>'j'':'@;PQ9I6'@=T:;?R='>OTS:TJ'@O9X=;O<'=O'I<J'

       =RI'Q:;<E''$R;@'S:@':'@:TN:@P';<=I<JIJ'=O';<@Q;TI':'TI:@@I@@PI<='O>'=RI;T'N:99OX@'J;@;<=ITI@=';<'

       :<O=RIT'QIT@O<d@'@X>>IT;<?E'''#='S:@':9@O'PI:<=':@':'@N:=R;<?'@RO=':='SR:='R:@'VINOPI':'ROTT;>M;<?'

       <IS'_@ITY;NI`'O>>ITIJ'VM'=RI'+:<:J;:<'_RI:9=R'N:TI`'@M@=IPj'SR;NR';@'<OS'QX@R;<?'IX=R:<:@;:'

       O<':'@RONU;<?9M'9:T?I'@S:=R'O>'=RI;T'J;@:V9IJ'QOQX9:=;O<E''89:;<=;>>';@'<O='<OS6'<OT'R:@'IYIT'VII<6'

       @X;N;J:9E''89:;<=;>>'R:@'JI@QIT:=I9M'VII<'@IIU;<?'RI9Q'=O';PQTOYI'RIT'eX:9;=M'O>'9;>Ij'<O='I<J';=E''

    iZE &I@Q;=I'=RI'N9I:T'RMQITVO9I';<'89:;<=;>>d@'IP:;96'++-*6'Y;N;OX@9M':<J';<=I<=;O<:99M'=OOU'=RI'

       PI@@:?I'9;=IT:99M':@':<'IgNX@I'=O'N:99'=RI'QO9;NI':<J'TIQOT='89:;<=;>>':@':'@X;N;JI'=RTI:=E'

    ibE )'9:T?I'"08&W.&"0'%5('(E/E)E$E'=I:P':QQI:TIJ':='89:;<=;>>@'JOOT':<J'JIP:<JIJ'@RI'VI'=:UI<'

       >OT':'Q@MNRO9O?;N:9'IY:9X:=;O<E''

    i\E 89:;<=;>>'QX='=RI'9I:J'O>>;NIT'O<'=RI'QRO<I'S;=R'=RI':==OT<IM'SRO'S:@'R:<J9;<?'=RI'9:S@X;=':='=RI'

       RI:T='O>'=RI':NN;JI<=6'SR;NR'N:X@IJ'89:;<=;>>d@'J;@:V;9;=ME''-I'IgQ9:;<IJ'=R:='89:;<=;>>'S:@6';<'>:N=6'

       <O='@X;N;J:9E''89:;<=;>>'IgQ9:;<IJ';<'JI=:;9'ROS'=RI'_@X;N;JI`'N:99'S:@'9;UI9M'?I<IT:=IJ':<J'=R:=';='

       S:@';<:NNXT:=I':<J'IYI<6'QITR:Q@6':<';<=I<=;O<:9':N='O>'TI=:9;:=;O<E'''

    ifE #='S:@'N9I:T'=O':<M'TI:@O<:V9I'QIT@O<'=R:='89:;<=;>>'IgR;V;=IJ'<O'@;?<@'O>'VI;<?'PI<=:99M'X<@=:V9I'

       OT':'J:<?IT'=O'RIT@I9>'OT'O=RIT@E''

    iiE /RI<'=RI'O>>;NIT@'P:JI'<XPITOX@'=RTI:=@'O>'=:U;<?'89:;<=;>>'VM'>OTNI6'@RI'TI9I<=IJ'OX='O>'>I:T'O>'


!                                                     ""!
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       R:Y;<?'RIT'NXTTI<=';<hXT;I@'>XT=RIT':??T:Y:=IJE'''89:;<=;>>'VTOUI'RIT'V:NU';<'=SO'Q9:NI@6'J;@9ON:=IJ'

       =RI'<ITYI';<'RIT'I9VOS':<J'@X>>ITIJ':'=T:XP:=;N'VT:;<';<hXTM':PO<?'O=RIT';<hXT;I@';<':'QT;OT'@9;Q'

       :<J'>:99':NN;JI<=E'

    i]E ,<NI'89:;<=;>>':?TIIJ'=O'NOOQIT:=I'@RI'=O9J'=RI'O>>;NIT@':VOX='RIT';<hXT;I@E'

    i^E *I?:TJ9I@@'O>'=R;@'>:N=6'=RI'O>>;NIT@':N=IJ'S;=R':'Y;N;OX@'JIQT:YIJ';<J;>>ITI<NI'=O'89:;<=;>>d@'

       YX9<IT:V;9;=ME'')@'@OO<':@'89:;<=;>>'@=IQQIJ'OX='O>'=RI'JOOT'=O'RIT':Q:T=PI<=6'@RI'S:@'Y;O9I<=9M'

       ?T:VVIJ':<J'R:<JNX>>IJE''-IT'N:<I'S:@'@<:=NRIJ'>TOP'RIT'R:<J':<J'@RI'S:@'@ROYIJ';<=O':'

       T;NUI=M'%5('>O9J;<?'NR:;T':<J'>OTNIJ'=O'9I:<'RIT';<hXTIJ'V:NU'O<=O'RIT'R:<JNX>>IJ'ST;@=@E''$RI'

       R:<JNX>>@'SITI':9@O'QX='O<'@;JIS:M@'S;=R'=RI'PI=:9'NX==;<?';<=O'RIT'ST;@='VO<IE'')@'@RI'@RT;IUIJ'

       ;<'Q:;<6'89:;<=;>>'S:@'P:J'=O'9OOU'=TX9M';<@:<I';<'>TO<='O>'RIT'<I;?RVOT@':@'@RI'S:@'JT:??IJ'OX='O>'

       =RI'VX;9J;<?':<J'Q9:NIJ';<':<':PVX9:<NIE'

    ][E cM'=RI'=;PI'89:;<=;>>':TT;YIJ':='=RI'RO@Q;=:9'@RI'S:@'=TX9M'J;@=T:X?R=j'I<=;TI9M'JXI'=O'=RI'=T:XP:'

       O>'SR:='=RI'QO9;NI':<J'%5$@'R:J'hX@='JO<I'=O'RITE''(RI'S:@';<'@O'PXNR'QRM@;N:9'Q:;<':<J'@O'

       IPO=;O<:99M'=T:XP:=;aIJ'=R:='@RI'NOX9J'<O='@=OQ'@OVV;<?E'')<J6'=ROX?R'=RI'JON=OT@'SITI'

       ;PPIJ;:=I9M':V9I'=O'JI=ITP;<I'=R:='89:;<=;>>'S:@'<O='@X;N;J:9'OT':'=RTI:='=O'RIT@I9>'OT'O=RIT@6'=RIM'

       @=;99'NOX9J'<O='TI9I:@I'RIT';<'RIT'J;@=T:X?R='@=:=I':<J'RI9J'RIT'OYIT'<;?R=6':?:;<@='RIT'S;99'S;=ROX='

       :JP;==;<?'RIT'=O'=RI'RO@Q;=:9E''#='S:@':'=TX9M'X<9:S>X9';PQT;@O<PI<=E'

    ]GE 89:;<=;>>d@'O=RIT':N=;YI'9:S@X;=';<'=R;@'NOXT='KHZ2+A2[\]^[L'R:@'<:PIJ'=RI'"08&':<J'"0.&'%5('

       :@'SI99':@'++-*'>OT'=RI;T'Q:T=';<'=RI':VOYI':N=;O<@E'

    ]HE 89:;<=;>>'VT;<?@'=R;@'<IS'NOPQ9:;<='=O'NOYIT':'@INO<J';<N;JI<=6'TIQI:=;<?'=RI@I'I?TI?;OX@':N=;O<@'

       VM'"08&':<J'"0.&'%5(6'S;=R'=RI';PQ9;N:=;O<'=R:='=R;@';@':'Q:==IT<'O>'VIR:Y;OT'j':<J'=R:='=RI'

       @INO<J':N=6';<'Q:T=;NX9:T6'S:@'JO<I'S;=R';<=I<=':<J'U<OS9IJ?I'O>'=RI'STO<?>X9<I@@'O>'@XNR'

       :N=;O<@E'''

    ]ZE )>=IT'89:;<=;>>d@'=TX9M'ROTT;>M;<?'IgQIT;I<NI'S;=R'++-*6'@RI'=OOU'RIT';@@XI@':?:;<@='RIT'9:<J9OTJ'=O'

       =RI'!E'(E'&IQ:T=PI<='O>'-OX@;<?':<J'!TV:<'&IYI9OQPI<='Kk-!&`L'=O'>;9I':'>IJIT:9'NOPQ9:;<=':<J'

       @IIU'>IJIT:9'QTO=IN=;O<'O>'RIT')&)':<J'.-)'T;?R=@E'''-!&'TINO?<;aIJ'89:;<=;>>d@'N9:;P@6'VX='@=:=IJ'


!                                                     "#!
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       =R:='=RIM'>;T@='R:J'=O'?;YI'=RI'(=:=I',>'"IS'0OTU':<'OQQOT=X<;=M'=O'TI@O9YI'=RI'P:==ITE'

                                           9"#/3+,-"*.)%+/'+/5.3+"#/.')+

                   67823+3/"/-*+*-:&";-*+.)*.11-&-)#-+/'+0,".)/.1123+:".)+")*+3(11-&.)%+

    ]bE ,<')QT;9'G[6'H[HZ6'-!&'TI>ITTIJ'89:;<=;>>d@'NOPQ9:;<=':?:;<@='RIT'9:<J9OTJ'=O'$RI'"IS'0OTU'(=:=I'

       &;Y;@;O<',>'-XP:<'*;?R=@'S;=R'=RI'N:YI:='=R:='=RI':?I<NM'PX@='=:UI':N=;O<'S;=R;<'Z['J:M@6'OT'=RI'

       N:@I'NOX9J'TIYIT='V:NU'=O'-!&E'''

    ]\E '/RI<':'NOXQ9I'O>'SIIU@'Q:@@IJ':<J'&-*'P:JI'<O':==IPQ='=O'NO<=:N='89:;<=;>>6'@RI'QRO<IJ'=RI'

       <XPVIT'O<'=RI'JONXPI<=@'-!&'R:J'@I<='RIT':<J':@UIJ'=O'@QI:U'S;=R'+RI9@I:'COR<'=RI'&-*'

       &;TIN=OT6'-OX@;<?'#<YI@=;?:=;O<'!<;=6'SRO'S:@'9;@=IJ':@'=RI'NO<=:N='QIT@O<E''89:;<=;>>'@QOUI'=O'

       +:<J:NI'$M<J:996'SRO'QTOP;@IJ'89:;<=;>>':'N:99'V:NU'>TOP'5@E'COR<E'

    ]fE ',<'5:M'H6'H[HZ6'HH'J:M@';<=O'=RI'Z['J:M'=;PI'QIT;OJ'-!&'R:J'JI@;?<:=IJ':@':'JI:J9;<I'=O'=:UI'

       :N=;O<6'89:;<=;>>'R:J'@=;99'<O='RI:TJ'>TOP'&-*'OT'TINI;YIJ'=RI'QTOP;@IJ'N:99'V:NU'>TOP'5@E'COR<E''

       (RI'P:JI':'@INO<J'N:99'=O'&-*E'''

    ]iE '89:;<=;>>'S:@'=O9J'=R:='RIT'Q:;<'S:@'<O='?O;<?'=O'R:YI':<M'I>>IN='O<'IgQIJ;=;<?'RIT'N:@I':<J'S:@'

       _=O9J'O>>`'>OT'N:99;<?':<J'VO=RIT;<?'=RI'@=:>>'O>'&-*E'''

    ]]E /RI<'89:;<=;>>'=OOU'O>>I<@I':='=RI'N:99OX@6'X<QTO>I@@;O<:9':<J'X<<INI@@:T;9M'TXJI':==;=XJI'O>'5@E'

       COR<':<J'5@E'$M<J:99E''5@E'COR<'@<;QQIJ6'_#>'MOX':TI'<O='R:QQM'MOX'N:<'=:UI'MOXdTI'N:@I'=O'+;=M'

       +OPP;@@;O<'O<'-XP:<'*;?R=@E`''89:;<=;>>'=RI<'TI9:=IJ'=RI'V:NU@=OTM'O>'=RI'ROTT;V9I'IgQIT;I<NI'

       @RI'R:J'hX@='R:J'S;=R'=RI'"IS'0OTU'+;=M'+OPP;@@;O<'O<'-XP:<'*;?R=@'K++-*L6'SR;NR'R:J'9IJ'=O'

       RIT'9:S@X;=':?:;<@='=R:=':?I<NME'''

    ]^E 89:;<=;>>':JJIJ'=R:='++-*'SITI'@O'X<QTO>I@@;O<:9'=R:=6';<@=I:J'O>'RI9Q;<?'RIT':<J'QTO=IN=;<?'RIT'

       J;@:V;9;=M':<J'N;Y;9'T;?R=@6'=RIM'Y;O9:=IJ'RIT'N;Y;9'T;?R=@E''89:;<=;>>'IgQ9:;<IJ'=RIM'J;J'=R:='VM'

       =S;@=;<?'RIT'Q9I:@'>OT'RI9Q';<=O'@OPI=R;<?'=RIM'SITI<d=':<J'N:99;<?';<':'>:UI'@X;N;JI':9IT=6'N:X@;<?'

       RIT'=O'VI'R:X9IJ'O>>'>OT':'Q@MNRO9O?;N:9'IY:9X:=;O<E'''

    ^[E )>=IT'TI9:=;<?'=RI'++-*'IgQIT;I<NI6'89:;<=;>>6'QITR:Q@':'V;='IPO=;O<:9'>TOP'R:Y;<?'=O'TI9;YI'=RI'

       =T:XP:=;a;<?'IYI<=@';<'RIT'P;<J6'P:JI':'9:@='=I:T>X9'Q9I:';PQ9OT;<?'&-*'=O'=:UI'RIT'@X>>IT;<?'


!                                                     "$!
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       @IT;OX@9M':<J'<O='J;@P;@@';=':@';P:?;<:TM'OT'Ig:??IT:=IJ':@'++-*'J;JE''cX=6'=RIM'TIP:;<IJ'

       X<POYIJE'

    ^GE 89:;<=;>>6'I<JIJ'=RI'NO<YIT@:=;O<'@=:=;<?'=R:='@RI'S:@'?I==;<?'_Y;VI@`'>TOP'&-*':@'IeX:99M'

       X<RI9Q>X9':@'++-*6':<J'>I9='=RIM'SITI'9;UI2S;@I'_V9OS;<?'RIT'O>>E`''89:;<=;>>'@:;J'@RI'>I:TIJ':'

       TIQI:='O>'=RI'QTIY;OX@'MI:TE'

    ^HE '89:;<=;>>'=RI<'TIP;<JIJ'&-*'O>'=RI'9OOP;<?'Z['J:M'JI:J9;<I':<J'VI??IJ'>OT'@OPI':N=;O<'=O'VI'

       =:UI<'=O'QX=':<'I<J'=O'=RI'Q:;<'@RI'S:@'IgQIT;I<N;<?'IYITMJ:ME''

                           678+1",3-,<+&-:'&/3+0,".)/.11+"3+"+3(.#.*-+/5&-"/=+
                                   &-/",."/'&<+.)/-)/+/'+.)/.>.*"/-+
                                                   +++++
    ^ZE $RI'_:N=;O<`'&-*'=OOU'>O99OS;<?'=R:='@INO<J'N:99'S:@6'<O='O<9M'X<RI9Q>X96'VX='NOPQ9I=I9M'

       =T:XP:=;aIJ'=RI'89:;<=;>>':<J'9I>='RIT'IPO=;O<:99M'@R:==ITIJE'

    ^bE &-*'=OOU'89:;<=;>>d@'TIN;=:=;O<'O>'RIT'ROTT;V9I'IgQIT;I<NI'S;=R'++-*6'<O=':@':'S:T<;<?'O>'ROS'<O='

       =O'R:<J9I'=RI'N:@I6'VX=':@':<';<Y;=:=;O<'=O'NOQM'Ig:N=9M'SR:='++-*'R:J'JO<I'j'QITR:Q@'TI=:9;:=;<?'

       :?:;<@='89:;<=;>>'O<'=RI;T'@;@=IT':?I<NMd@'VIR:9>j'OT'@;PQ9M'JO<I'=O';<=;P;J:=I'89:;<=;>>':<J'_QX='

       RIT';<'RIT'Q9:NI`'>OT'J:T;<?'=O'=R;<U'@RI'JI@ITYIJ':<M'QT;OT;=;a:=;O<E''''''

    ^\E )>=IT'RIT'<;?R=P:TI'IgQIT;I<NI'S;=R'++-*6'89:;<=;>>'S:@'N:X=;OX@'S;=R'RIT'SOTJ@':<J6':='<O'=;PI'

       JXT;<?':<M'QRO<I'NO<YIT@:=;O<'OT'O=RIT'NOPPX<;N:=;O<'S;=R'&-*6'J;J'89:;<=;>>'IYIT'@:M6'OT'R;<='

       :=6';<':<M'S:M6'=R:='@RI'S:@'@X;N;J:9'OT':'J:<?IT'=O'RIT@I9>'OT'O=RIT@E''(=;996'+RI9@I:'COR<':<J'

       +:<J:NI'$M<J:99'N:99IJ'=RI':X=ROT;=;I@':<J'P:JI'>:9@I'@=:=IPI<=@':VOX='89:;<=;>>'VI;<?'@X;N;J:9E'''

    ^fE $RI':N=;O<'S:@':<';<=I<=;O<:9'>:9@I'TIQOT='S;=ROX='9I?;=;P:=I'V:@;@E'''

    ^iE #='@ROSIJ'P:9;NI':<J':'NOPQ9I=I'9:NU'O>'=TXI'NO<NIT<'>OT'=RI'89:;<=;>>d@'SI992VI;<?6':@';=';<;=;:=IJ'

       MI=':<O=RIT'=RTI:=I<;<?'Y;@;=:=;O<'>TOP':X=ROT;=;I@'j'SR;NR'89:;<=;>>'R:J'hX@='TINOX<=IJ'=O'&-*'

       :@'R:Y;<?'VII<':'R;?R9M'=T:XP:=;a;<?'IgQIT;I<NI':<J'J;J'<O=R;<?'=O':@@;@='89:;<=;>>';<'@O9Y;<?'=RI'

       QTOV9IP@'>OT'SR;NR'@RI'S:@'@IIU;<?'RI9QE'

    ^]E $RI'>:9@I'TIQOT=;<?';<J;N:=IJ'=R:='=RI@I'TIQTI@I<=:=;YI@'O>'&-*6'9;UI'=RI'++-*'@=:>>'VI>OTI'=RIP6'

       SITI'=TI:=;<?'89:;<=;>>d@'N9:;P@'S;=R'NO<=IPQ=':@';P:?;<:TM6'X<;PQOT=:<='OT'QITR:Q@'VOT<'O>'



!                                                    "%!
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       Ig:??IT:=IJ'IgQIN=:=;O<@'O>''_SR;=I'QT;Y;9I?I`'=R:='<IIJIJ'=O'VI'JI>9:=IJE''''

    ^^E &-*d@'V;a:TTI9M'JIQT:YIJ':@@I@@PI<='O>'89:;<=;>>d@'@;=X:=;O<'@IIPIJ'=O':>>OTJIJ'=RIP'>:9@I'

       hX@=;>;N:=;O<'=O'J;@P;@@':<M'XT?I<NM6'SR;NR'@ROX9J'R:YI'VII<'?;YI<'89:;<=;>>d@'N:@I6'NO<@;JIT;<?'

       =RI'N;TNXP@=:<NI@'O>'RIT'Q:;<':<J'@X>>IT;<?E'''cX=6'&-*'P:JI';='N9I:T'=RIM'J;J'<O='N:TI':VOX='

       89:;<=;>>d@'Q:;<':<J'@=:=IJ'=R:='>:N=';<'Q9:;<'9:<?X:?IE'

    G[[E     &-*'P:JI';='IYI<'N9I:TIT'ROS'9;==9I'=RIM'N:TIJ':VOX='89:;<=;>>d@'Q:;<'SRI<'=RIM'JT:??IJ'

       =RI;T'>II=':<J';?<OTIJ'=RI'Z['J:M'JI:J9;<I';PQO@IJ'VM'-!&E'

    G[GE     89:;<=;>>'S:;=IJ'Q:=;I<=9ME''&-*d@'>:9@I'N:99'=O':X=ROT;=;I@6':<J';=d@'I<@X;<?'=ITTOT'KIgQ9:;<IJ'

       >X99M'VI9OSL6'I>>IN=;YI9M'@XNNIIJIJ';<';<=;P;J:=;<?'89:;<=;>>':<J'JIPO<@=T:=IJ'=RI'J;TI'

       NO<@IeXI<NI@'O>':<M':==IPQ=@'=O'QX='QTI@@XTI'O<'&-*'=O':N=E'

                                      245678459*5:*;<=*>?5@=AA**
                        4./5+(),"41(,+.>:&.3')>-)/+?+9@8+A+BCD@E6+FGHC+
                                 A)*+4"&&")/,-33+-)/&<+")*+3-"&#5+
                                                    +
    G[HE     ')TOX<J'f'QEPE'O<'5:M'H6'H[HZ6':>=IT'89:;<=;>>d@'I:T9;IT'N:99'S;=R'&-*6'@RI'9I>='RIT':Q:T=PI<='

       =O':==I<J':<'IYI<='S;=R'>T;I<J@E''(RI'=XT<IJ'RIT'NI99'QRO<I'O>>'JXT;<?'=RI'IYI<=E''

    G[ZE     )TOX<J'G['QEPE6':@'89:;<=;>>':<J'RIT'NOPQ:<;O<@'SITI'@;==;<?'JOS<'>OT'J;<<IT';<':'

       TI@=:XT:<=6'89:;<=;>>'=XT<IJ'RIT'QRO<I'V:NU'O<':<J'TINI;YIJ':'@=T:<?I'N:99'>TOP'RIT'@=IQ2@;@=IT'

       :@U;<?';>'@RI'S:@':9T;?R=E''89:;<=;>>'S:@'X<@XTI'SR:='QTOPQ=IJ'=RI'N:996':@'=RIM'R:J'<O='@QOUI<';<'

       eX;=I':'SR;9I':<J';='S:@'9:=IT';<'=RI'IYI<;<?'=R:<':<M'X@X:9'N:99'>TOP'RITE'''89:;<=;>>6'@:;J'@RI'S:@'

       >;<I':<J'S:@'@;==;<?'JOS<'=O'I:=6'@O'SOX9J'<IIJ'=O'N:99'RIT'V:NU'9:=ITE''$RI'TI:@O<'>OT'N:99'P:JI'

       ;=@I9>'U<OS'@ROT=9M'=RITI:>=ITE'

    G[bE     )TOX<J'P;J<;?R=6':@'89:;<=;>>':<J'RIT'NOPQ:<;O<@'SITI'?I==;<?';<'=RI'N:T'=O'TI=XT<'ROPI6'

       RIT'QRO<I'T:<?':?:;<E''/RI<'89:;<=;>>':<@SITIJ';=6':'QO9;NI'O>>;NIT'S:@'O<'=RI'9;<I':<J6';<':'YITM'

       @=IT<'YO;NI6':@UIJ'RIT'SRITI'@RI'S:@E''89:;<=;>>'S:@'PM@=;>;IJ':<J':@UIJ'R;P'SRM'RI'S:@':@U;<?'

       RIT'@XNR':'eXI@=;O<E''$RI'QO9;NI'O>>;NIT'TI9:=IJ'=RI'>:N='=R:='89:;<=;>>'R:J'VII<'TIQOT=IJ':@':'

       @X;N;JI'=RTI:=':<J'=RIM'SITI':='RIT':Q:T=PI<='VX;9J;<?E''$RI'O>>;NIT':JJIJ'=R:='=RIM'R:J'VII<'

       =TM;<?'=O'9ON:=I'89:;<=;>>'>OT'P:<M'ROXT@E''(XJJI<9M6'=RI'TI:@O<'>OT'=RI'N:99'>TOP'89:;<=;>>d@'@=IQ2


!                                                     "&!
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       @;@=IT'VIN:PI'N9I:TE'''

    G[\E     89:;<=;>>'=O9J'=RI'O>>;NIT'=R:='@RI'S:@'O<'RIT'S:M'ROPI':<J'SOX9J'VI'R:QQM'=O'IgQ9:;<'=R:='

       =RI';<>OTP:=;O<'RI'TINI;YIJ'S:@'ITTO<IOX@E'''89:;<=;>>'=RI<'RI9J'RIT'QRO<I'XQ'SR;9I'=RI'=RTII'

       NOPQ:<;O<@'@RI'S:@'S;=R'9:X?RIJ':<J'=O9J'=RI'QO9;NI'=R:='89:;<=;>>'S:@';<'<O'S:M'@X;N;J:9E'

    G[fE     )>=IT'JTOQQ;<?'O>>'=SO'O>'=RI'NOPQ:<;O<@6'89:;<=;>>d@'=R;TJ'NOPQ:<;O<6'$O<M6'JTOYI'RIT'

       ROPI6':TT;Y;<?':='89:;<=;>>d@':Q:T=PI<='VX;9J;<?':='GH7b\':EPE'O<'5:M'Z6'H[HZE'

    G[iE     89:;<=;>>6'OX='O>':<':VX<J:<NI'O>'N:X=;O<6'JXI'=O'=RI'Q:@='IgQIT;I<NI'S;=R'=RI'QO9;NI'=R:='9IJ'

       =O'=RI'O=RIT'O<2?O;<?'9:S@X;='QTIY;OX@9M'>;9IJ6''=XT<IJ'O<'=RI'N:PIT:'O>'RIT'NI99'QRO<I':@'@RI'

       Ig;=IJ'=RI'N:T':<J'TINOTJIJ'=RI'I<=;TI'I<NOX<=ITE''

    G[]E     89:;<=;>>':<J'RIT'>T;I<J'$O<M'I<=ITIJ'=RI'9OVVM'O>'89:;<=;>>d@'VX;9J;<?':<J'SITI'PI='VM'b'

       QO9;NI'O>>;NIT@E'

    G[^E     89:;<=;>>6'P:JI':'NO<NIT=IJ'I>>OT='=O'X<T:YI9'=RI'NO<>X@;O<'@XTTOX<J;<?'=RI'@OXTNI':<J'

       PO=;Y:=;O<'>OT'=RI'_@X;N;JI`'N:996'SR;NR'VTOX?R='=RI'QO9;NI';<=O'=RI'NXTTI<='@;=X:=;O<E''cX=6'=RIM'

       SITI'X<M;I9J;<?';<'=RI;T'@=:<NI':<J'TI>X@IJ'=O'NOOQIT:=I'S;=R'89:;<=;>>d@':==IPQ='=O'N9:T;>M'=RI'

       @=OTME'

    GG[E     $RI'QO9;NI'NOPQ9I=I9M':<J'?TO@@9M';?<OTIJ'=RI;T'OV9;?:=;O<'=O'QTOQIT9M':@@I@@'=RI'@;=X:=;O<'

       :<J'RO<OT'89:;<=;>>d@'T;?R=@'O>'JXI'QTONI@@E'

    GGGE     89:;<=;>>'QO;<=IJ'OX='=R:='=R;@'@:PI':VX@I'O>'RIT'T;?R=@'O<':'QTIY;OX@'ONN:@;O<'SITI':='=RI'

       RI:T='O>':'9:S@X;='@RI'S:@'>;9;<?':<J';PQ9OTIJ'=RI'O>>;NIT@'<O='=O'TIQI:='=RI'O>>I<@IE''

    GGHE     %YI<'=ROX?R'89:;<=;>>'S:@'QIT>IN=9M'9XN;J':<J'T:=;O<:99M'IgQ9:;<IJ'=RI'Ig=I<@;YI'V:NU@=OTM6'

       SR;NR'N:X@IJ'=RI';<:NNXT:=I':<J';<:QQTOQT;:=I'_@X;N;JI`'N:996'=RI'QO9;NI'QTONIIJIJ'=O'N:99'=RI'

       .&"0'%5(':<J'TIQOT='=R:='89:;<=;>>'R:J'>;<:99M':TT;YIJ'ROPIE'

    GGZE     '/RI<'=RI'%5$d@':TT;YIJ6'89:;<=;>>'TIQI:=IJ':99'O>'=RI'@:PI';<>OTP:=;O<'@RI'R:J'?;YI<'=O'=RI'

       O>>;NIT@E'

    GGbE     )>=IT'H['P;<X=I@'O>'89:;<=;>>'=TM;<?'=O'TI:@O<'S;=R'VO=R'=RI'QO9;NI':<J'=RI'%5$d@6'8E,E'

       +:@=TO6'?O='YITM':??TI@@;YI':<J'=RTI:=I<'=O'R:<JNX>>'89:;<=;>>'=O':'@=TI=NRIT':<J'=:UI'RIT'VM'>OTNIE'''


!                                                      "'!
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    GG\E     89:;<=;>>'QX=':99'=RI'O>>;NIT@':<J'%5$@'O<'<O=;NI'=R:=6';>'=RIM';<@;@=IJ'O<'=:U;<?'RIT6'@RI'

       SOX9J'VT;<?'9I?:9':N=;O<E''$RIM'J;J'<O='N:TI':<J'QTONIIJIJ'S;=R'=RI;T';<=;P;J:=;<?'=RTI:=@E'

    GGfE     89:;<=;>>6'OX='O>'>I:T'O>':<O=RIT':@@:X9='VM'=RI'O>>;NIT@':<J'>XT=RIT';<hXTM'=O'RIT'Ig;@=;<?'

       ;<hXT;I@6':?TIIJ'=O'S:9U'=O'=RI':PVX9:<NI':<J'NOOQIT:=I'X<JIT'JXTI@@E''

    GGiE     -OSIYIT6'SR;9I'89:;<=;>>'J;J'RIT'VI@='=O'QTO=IN='RIT@I9>'>TOP'>XT=RIT'QRM@;N:9'=T:XP:6'=R;@'

       J;J'<O=R;<?'=O':99IY;:=I'=RI':V@O9X=I'=ITTOT'@RI'>I9='>OT'VI;<?'>OTNIJ'=O'@XVP;='RIT@I9>'=O':'PIJ;N:9'

       @M@=IP'=R:='NOX9J6'O<':'SR;P6'>OTN;V9M'JTX?'OT'_=TI:=`'RIT'SR;9I'@RI'S:@'JIIPIJ'=O'VI'X<JIT'=RI;T'

       :X=ROT;=ME''''

    GG]E     $:U;<?'O<I@'T;?R='=O'@I9>2JI=ITP;<:=;O<'VM'9:VI9;<?'=RIP'PI<=:9';<NOPQI=I<=6'IYI<'>OT':<'

       ROXT6';@':PO<?'=RI'PO@='@IYITI'JIQT:Y:=;O<@'O>'O<I@'N;Y;9'T;?R=@E''#=';@':V@O9X=I9M'=ITT;>M;<?'=O'VI'

       @XVhIN=IJ'=O'=R;@':<J'@ROX9J'VI'IgITN;@IJ'S;=R'=RI'X=PO@='O>'N:X=;O<':<J'O<9M';<'=RI'PO@='

       Ig=TIPI'O>'N;TNXP@=:<NI@E''"O=R;<?'S:@'hX@=;>;IJ';<'@XVhIN=;<?'89:;<=;>>'=O'@XNR'I?TI?;OX@6'

       JIRXP:<;a;<?'J;@TI?:TJ'O>'RIT'T;?R=@E''

    GG^E     89:;<=;>>':9@O'QO;<=IJ'OX='=R:='=RI@I'U;J<:QQIT@'R:J':'TI@QO<@;V;9;=M'=O'@:>I9M'TI=XT<'RIT'=O'

       RIT'ROPI':>=IT'>OTN;<?'RIT'=O'@XVP;='=O'=R;@'X<<INI@@:TM'Ig:P;<:=;O<E''#='S:@':9TI:JM':>=IT'G':EPE'

       :<J'89:;<=;>>'SOX9J'I<J'XQ'VI;<?'TI9I:@IJ';<'=RI'P;JJ9I'O>'=RI'<;?R='S;=ROX=':'@:>I'Q:@@:?I'ROPIE''

    GH[E     %5('P:JI'>:9@I':@@XT:<NI@':VOX='89:;<=;>>'VI;<?'@XQQ9;IJ'=T:<@QOT=:=;O<'ROPIE'

    GHGE     89:;<=;>>'S:@';<JIIJ'>OX<J'=O'VI'<O='@X;N;J:96'VX='SRI<'TI:JM'>OT'TI9I:@I6'@RI'VIN:PI'

       @=T:<JIJ':='=RI'RO@Q;=:9'SRI<'=RI'RO@Q;=:9'S:@'X<:V9I'=O'VOOU':'N:T'@ITY;NI'OT'QTOY;JI'@:>I'

       =T:<@QOT=:=;O<'X<=;9'POT<;<?E''

    GHHE     89:;<=;>>'S:@'UIQ='XQ':99'<;?R=6'X<:V9I'=O'@9IIQ';<'=RI'Q@MNR'S:TJ'O>'*OO@IYI9='-O@Q;=:9E'''(RI'

       VTOUI'JOS<';<'=I:T@':@'POT<;<?':QQTO:NRIJ':<J'@RI'TI:9;aIJ'@RI'S:@'@O'IgR:X@=IJ'@RI'S:@'

       ?O;<?'=O'R:YI'=O'?;YI':S:M'=RI'P:=;<II'=;NUI='=O'=RI'cTO:JS:M'@ROS'()*+&",-$./)*+#0$SR;NR'@RI'

       R:J'VII<'?;YI<'=RI'J:M'VI>OTIE'')>=IT'MI:T@'O>'QOYIT=M6'9;Y;<?'O<'(ON;:9'(INXT;=M'&;@:V;9;=Mj':<J'

       =RI'+OY;J'@RX=JOS<j'89:;<=;>>'R:J'<O='@II<':'cTO:JS:M'@ROS';<':'JIN:JIE'')<J'<OS'@RI'S:@'

       ?O;<?'=O'P;@@'=R;@'OQQOT=X<;=M'OYIT'@XNR':'@I<@I9I@@':<J'9:S9I@@'JIQT;Y:=;O<'O>'RIT'>TIIJOPE''''


!                                                    "(!
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    GHZE        $RI'@:J<I@@'O>'P;@@;<?'OX='O<'=RI'@ROS':<J'=RI'J;@OT;I<=;<?'=ITTOT'O>'VI;<?'RI9J':?:;<@='

       RIT'S;996'VM'QIOQ9I'S;=R'=RI'QOSIT'=O'JO'SR:=IYIT'=RIM'Q9I:@I'=O'RIT6'SITI'O<9M'NOPQOX<JIJ'

       SRI<'89:;<=;>>':TT;YIJ'V:NU'ROPIE''89:;<=;>>'S:@'OYITSRI9PIJ'S;=R':'NTX@R;<?'@I<@I'O>'VI;<?'

       Y;O9:=IJ'SRI<'@RI'TI:9;aIJ'RIT':Q:T=PI<='R:J'VII<'I<=ITIJ';<'RIT':V@I<NIE''''

    GHbE        -OSIYIT6'89:;<=;>>d@':Q:T=PI<='S:@<d='O<9M'I<=ITIJ'=O'@II';>'89:;<=;>>'S:@'=RITIj':@';<':'

       _SI99<I@@'NRINUEd'''#='S:@'OVY;OX@'=R:='RIT'QIT@O<:9'=R;<?@'R:J'VII<';99I?:99M'@I:TNRIJE''$RITI'

       SITI';=IP@'O<'=RI'>9OOT6'VOgI@'OYIT=XT<IJ':<J'IYI<'@OPI'V:<<IT@6'>TOP':'QI:NI'TI:99M'89:;<=;>>'

       R:J':==I<JIJ6'Q:T=;:99M'X<TO99IJE''

    GH\E        $R;@'S:@'<O=':'_SI99<I@@'NRINUE`''#='S:@':<';99I?:9'@I:TNR'O>'89:;<=;>>d@':Q:T=PI<='S;=ROX=':'

       S:TT:<=E'

    GHfE        /R:='P:JI'=RI'I<=TM'IYI<'POTI';<=I<=;O<:99M'X<9:S>X96'S:@'=RI'>:N='=R:=6'SR;9I'=TM;<?'=O'

       NO<Y;<NI'89:;<=;>>'=R:='SROIYIT'P:JI'=RI'N:99'=O'=RI'@X;N;JI'RO=9;<I'S:@'NTIJ;V9I6'O<I'O>'=RI'

       O>>;NIT@'@SOTI'=R:='=RIM'SITI'?;YI<':'>X99'JI@NT;Q=;O<'O>'89:;<=;>>';<N9XJ;<?'SR:='@RI'S:@'SI:T;<?E''

       $RI'O<9M'QIT@O<'SRO'NOX9J'R:YI'?;YI<'=RI'QO9;NI'=R:=';<>OTP:=;O<'S:@'=RI'89:;<=;>>d@'JOOTP:<E''

       -I'SOX9J'R:YI'@II<'89:;<=;>>'9I:Y;<?'=RI'VX;9J;<?E''$RITI>OTI6'=RI'QO9;NI'R:J'<O'TI:@O<'=O'VI9;IYI'

       89:;<=;>>'S:@';<'RIT':Q:T=PI<=':<J'<O'QTOV:V9I'N:X@I'=O'I<=IT'SRI<'<O'O<I':<@SITIJ':'U<ONU'OT'

       VI99E'

    GHiE        89:;<=;>>'@QI<='J:M@'@OVV;<?':<J'=TM;<?'=O'OYITNOPI'RIT'@I<@I'O>'NOPQ9I=I'Y;O9:=;O<E'

    GH]E        $RI'>:N='=R:=':99'=RI@I'Y;O9:=;O<@'SITI'NOPP;==IJ'VM'?OYIT<PI<='VOJ;I@':?:;<@='89:;<=;>>6''

       c%+)!(%'@RI'R:J'JI@QIT:=I9M'VII<'IgQTI@@;<?'RIT'<IIJ'>OT'RI9Q'>TOP'=RI'?OYIT<PI<='=O'I<>OTNI'

       =RI'9:S':<J'QTO=IN='RIT'J;@:V;9;=M'T;?R=6'R:@'VII<'=OO'PXNR'=O'VI:T'IPO=;O<:99ME'''89:;<=;>>';@'<OS'

       JIIQ9M'IPO=;O<:99M'@N:TTIJ6'9:NU;<?'>:;=R';<'=RI'hXJ;N;OX@<I@@'O>':99'?OYIT<PI<=':?I<N;I@':<J'R:@'

       VINOPI':'PXNR'R:TJIT6'@:JJIT':<J'POTI'NM<;N:9'QIT@O<E'''

                                678+*&"%3+1--/I+.%)'&-3+7J6+*-"*,.)-+")*+
                                  +#')/.)(-3+/'+.%)'&-+0,".)/.1123+3(11-&.)%+
                                                        ++
    GH^E        ,<6'5:M'Z6'H[HZ6'89:;<=;>>'N:99IJ'&-*'>OT':<'IgQ9:<:=;O<'O>'=RI'QO9;NI':N=;O<'=RIM';<@=;?:=IJE'''



!                                                      ")!
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       5@E'COR<':?:;<6'R:J'=RI'<ITYI'=O'=I99'89:;<=;>>'=R:='@RI'NOX9J<d='UIIQ'_N:99;<?'IYITMJ:ME`''$R;@'S:@'

       O<9M'89:;<=;>>d@'=R;TJ'QRO<I'N:99'=O'&-*':<J'@Q:<<IJ':'QIT;OJ'O>'<I:T9M':'PO<=R'@;<NI'=RI'N:@I'S:@'

       @I<='OYIT'>TOP'-!&E'

    GZ[E     5:M'G[6'H[HZ6'=RI'Z['J:M'JI:J9;<I'VM'SR;NR'-!&'R:J'?;YI<'&-*'=O'=:UI':N=;O<6'N:PI':<J'

       SI<='S;=ROX='&-*'PII=;<?'=RI;T'TI@QO<@;V;9;=ME'

    GZGE     ,<'5:M'Gi6'H[HZ6'&-*'>;<:99M'P:;9IJ'OX=':'NOPQ9:;<='>OT'89:;<=;>>'=O'@;?<E'

    GZHE     ,<'5:M'G]6'H[HZ6'89:;<=;>>'R:J':'@INO<J'O>'=SO'PM@=IT;OX@6'@I;aXTI29;UI'TI:N=;O<@'@RI'R:@'

       R:J6'=T;??ITIJ'VM'=RI'Y:QI'>XPI@'I<=IT;<?'RIT':Q:T=PI<=E'

    GZZE     89:;<=;>>'TIQOT=IJ'=R;@'=O'RIT'9:<J9OTJ'VX=6':@'X@X:96'=RIM'PONUIJ'89:;<=;>>':<J'@ROSIJ'<O'

       ;<=ITI@='OT'NO<NIT<':VOX='=RI'@;=X:=;O<E'

    GZbE     ,<'5:M'G^6'H[HZ6'SRI<'&-*'TI>X@IJ'=O':<@SIT'=RI'QRO<I6'89:;<=;>>'9I>=':'PI@@:?I'O<'=RI;T'

       YO;NIP:;9':VOX='=RI'YITM'@N:TM'@I;aXTI29;UI'TI:N=;O<':<J'P:JI':<O=RIT'Q9I:'>OT'POTI'NO<@=TXN=;YI'

       OT'IgQIJ;=IJ'RI9Q'=O'I<J'=RI'NO<J;=;O<@'=R:='SITI'@O':JYIT@I9M':>>IN=;<?'89:;<=;>>d@'RI:9=R':<J'

       QITR:Q@'IYI<'I<J:<?IT;<?'RIT'9;>IE'''

    GZ\E     89:;<=;>>':9@O'IP:;9IJ'&-*'NOQ;I@'O>'RIT'PIJ;N:9'TIQOT=@'S;=R'V9OOJ'=I@=@'@ROS;<?'

       :<OP:9;I@'=R:='RIT'JON=OT'NOX9J'<O='IgQ9:;<6'VX='SR;NR'SITI'@;?<:9@'>OT'JIYI9OQ;<?'N:<NIT'OT':<'

       :X=O;PPX<I'J;@I:@IE''89:;<=;>>d@'JON=OT'@I<='RIT'=O'R:YI':<'5*#'O>'RIT':JTI<:9'?9:<J@':<J':'

       @O<O?T:P'O>'RIT'$RMTO;JE''(=;99'<O':<@SIT@'SITI'>OX<JE''-OSIYIT6'89:;<=;>>6'N:<'Q;<QO;<='=RI'

       ?I<IT:9'JOS<=XT<';<'RIT'RI:9=R6':<J'=RI'<OS';<=T:N=:V9I'<:=XTI'O>'RIT6'QTIY;OX@9M'@QOT:J;N6'

       P;?T:;<I@6'=O'=RI'J:=I'@RI'POYIJ';<=O'RIT'NXTTI<=':Q:T=PI<=':<J'VI?:<'VI;<?'VOPV:TJIJ'I:NR'

       :<J'IYITM'<;?R='S;=R'=Og;N'>XPI@'>TOP'=RI':Q:T=PI<='VI9OS'RITE'

    GZfE     &-*'P:;<=:;<IJ'=RI;T'JIQT:YIJ';<J;>>ITI<NI'=O'89:;<=;>>d@'@;=X:=;O<':<J6'9;UI'89:;<=;>>d@'

       9:<J9OTJ6'J;J'<O=R;<?'=O';<=ITYI<I':<J'QTO=IN='89:;<=;>>'j'OT'IYI<'IgQIJ;=I'RIT'N:@IE''

    GZiE     #='S:@'<O='X<=;9'(IQ='Gb6'H[HZ'=R:='89:;<=;>>'S:@'>;<:99M'NO<=:N=IJ'>OT':<';<=ITY;IS'VM'=RI'

       ;<YI@=;?:=OT':@@;?<IJ'=O'RIT'N:@I6'5@E'8IT9O<?OE'''

    GZ]E     89:;<=;>>'?:YI'RIT':NNOX<='O>'=R;<?@'JXT;<?'=RI';<=ITY;IS':<J'@XQQ9;IJ'=RI'<:PI@'O>'O=RIT'


!                                                   "*!
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       =I<:<=@'SRO'SITI'S;=<I@@I@'j';<N9XJ;<?'=RI'XQ@=:;T@'<I;?RVOT'SRO'S:@'X9=;P:=I9M'

       NO<@=TXN=;YI9M'IY;N=IJ'VM'=RI';<=O9IT:V9I'@POUI':<J'Y:QI'>XPI@'QI<I=T:=;O<';<=O'c,$-'O>'RIT'

       :Q:T=PI<=@E''89:;<=;>>':@UIJ'5@E'8IT9O<?O';>'@RI'@ROX9J'IP:;9'=RI'Y:T;OX@'Q;INI@'O>'IY;JI<NI'

       @QOUI<'O>';<'=RI';<=ITY;IS':<J'=RI'NO<=:N=';<>OTP:=;O<'>OT'=RI'S;=<I@@I@E''5@E'8IT9O<?O'=O9J'

       89:;<=;>>'<O='=O'@I<J':<M=R;<?'MI='j'@RI'SOX9J'P:UI'XQ':'9;@='O>'SR:='@RI'<IIJIJ':<J'@I<J';='=O'

       89:;<=;>>E'

    GZ^E      $RI'9;@='<IYIT':TT;YIJE'

    Gb[E      #='S:@'<O='X<=;9',N=E'G[6'H[HZ6'=R:='89:;<=;>>'S:@'NO<=:N=IJ'>OT':'TIVX==:9'=O'RIT'9:<J9OTJd@'

       TI@QO<@IE''89:;<=;>>'>OX<J'OX='=R:='=RI'TI@QO<@I'R:J'VII<'TI=XT<IJ'O<'CX9M'G^6'H[HZ6':9PO@='=RTII'

       PO<=R@'I:T9;ITE'')<J'<OS'89:;<=;>>'S:@'?;YI<'GZ'J:M@6'X<=;9',N=E'HZ6'H[HZ'=O'ST;=I':<'Ig=I<@;YI'

       TIVX==:9E'

                            678+&-1(3-3+0,".)/.11+"+*.3"K.,./<+"##'>>'*"/.')+
                                ")*+1".,3+/'+:&':-&,<+.);-3/.%"/-+5-&+#"3-++
                                                      +
    GbGE      89:;<=;>>'S:@'@=TX??9;<?'S;=R'RIT'J:;9M'P;?T:;<I@':<J'O=RIT':@@ON;:=IJ'QTOV9IP@'S;=R'RIT'

       RI:J';<hXTM6';<N9XJ;<?'JOXV9I'Y;@;O<':<J'YIT=;?O'j'':<J'@RI'JI@QIT:=I9M'<IIJIJ'=O'>;<J'9I?:9'

       :@@;@=:<NI'j'@O'@RI'=;PI9M':@UIJ'>OT':<'Ig=I<@;O<'O<',N=E'GG6'H[HZE'')='=R:='=;PI6'89:;<=;>>':9@O'

       P:JI';<eX;T;I@':VOX='RIT'S;=<I@@I@':<J'SRM'<O<I'O>'=RIP'R:J'VII<'NO<=:N=IJE'

    GbHE      "O'O<I'>TOP'&-*'SOX9J'TI@QO<J'=O'89:;<=;>>d@'IP:;9IJ':QQ9;N:=;O<'>OT':<'Ig=I<@;O<'OT'

       TI@QO<J'=O'QRO<I'N:99@'Q9:NIJ'=O'>O99OS'XQE''&:M':>=IT'J:M'Q:@@IJ':<J6':@'=RI'JI:J9;<I'9OOPIJ6'

       89:;<=;>>'S:@'QX=';<=O':'@=:=I'O>'Q:<;N6'

    GbZE      .;<:99M6'O<',N=E'G]6'H[HZ6'+RI9@I:'COR<'NO<=:N=IJ'89:;<=;>>':<J6'=ROX?R'@RI'R:J'QTIY;OX@9M'

       @:;J'@RI'SOX9J'?;YI'89:;<=;>>d@'9:<J9OTJ'K:<J'=RI;T'9:SMIT@L':<':X=OP:=;N'Z['J:M'Ig=I<@;O<'=O'

       TI@QO<J6'@RI'VI?TXJ?;<?9M'O<9M'O>>ITIJ':'=SO'SIIU'Ig=I<@;O<'=O'=RI'QTO'@I'J;@:V9IJ'89:;<=;>>E''

    GbbE      #<'TI@QO<@I'=O'89:;<=;>>':@U;<?':VOX='RIT'S;=<I@@I@'<O='VI;<?'NO<=:N=IJ6'5@E'COR<'NOX9J'

       V:TI9M'NO<=:;<'=RI'NO<=IPQ=';<'RIT'YO;NI'SRI<'@RI'@<;QQIJ6''_5@E'8IT9O<?O';@'<O='MOXT'QIT@O<:9'

       ;<YI@=;?:=OTE`''5@E'COR<'P:JI';='POTI'=R:<'N9I:T';<'RIT':==;=XJI'=R:='&-*6'ROSIYIT'ITTO<IOX@9M6'



!                                                     #+!
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        JIIPIJ'89:;<=;>>d@'N9:;P@'@OPI'@OT='O>'<X;@:<NI'<O='SOT=RM'O>'=RI;T'=;PIE''

     Gb\E      /RI<'5@E'COR<':V@O9X=I9M'TI>X@IJ'=O'?;YI'89:;<=;>>'=RI'@:PI'Z['Ig=I<@;O<':X=OP:=;N:99M'

        :>>OTJIJ'89:;<=;>>d@'9:<J9OTJ6'89:;<=;>>'S:@'>OTNIJ'=O'IYOUI':'J;@:V;9;=M':NNOPPOJ:=;O<'TIeXI@=E''

        $R;@'S:@':<'I:T<I@='TIeXI@=6':@'QTOJXN;<?'=RI@I'9I?:9'JONXPI<=@'SR;9I'>;?R=;<?'=RTOX?R'

        P;?T:;<I@';@'<O'@P:99'>I:=':<J'TIeX;TI@'PXNR'@=OQQ;<?':<J'@=:T=;<?j'@OPI=;PI@'89:;<=;>>';@'

        NOPQ9I=I9M';<N:Q:N;=:=IJ'>OT'J:M@'O<'I<JE''89:;<=;>>'S:@':9@O'=TM;<?'=O'>;<J':@@;@=:<NIE''''

     GbfE      5@E'COR<':?:;<'@ROSIJ'RIT':V@O9X=I'NO<=IPQ='>OT'89:;<=;>>'SRI<'@RI'JI<;IJ'=RI'

        :NNOPPOJ:=;O<'TIeXI@=':<J'>OTNIJ'89:;<=;>>'=O':QQI:9'=R:='JIN;@;O<'=O'=RI':?I<N;I@'&;@:V;9;=M'

        JIQ:T=PI<=E'

     GbiE      5TE'-ITT;O<6'=RI'&-*'&;TIN=OT'O>'&;@:V;9;=M'*;?R=@6'@=IQQIJ';<':<J'=RI'Ig=I<@;O<'S:@'>;<:99M'

        ?T:<=IJE'

                       678+&-1(3-3+/'+"#$)'4,-*%-+0,".)/.1123+*.3"K.,./<+&.%5/3+")*++
                               #')3:.&-3+/'+*-)<.)%+0,".)/.11+/5'3-+&.%5/3+

     Gb]E      89:;<=;>>':@UIJ'=R:='RIT'I<=;TI'N:@I'VI'=T:<@>ITTIJ'=O'=RI'&;@:V;9;=M'&IQ:T=PI<=6':@'=R:='S:@'

        :'POTI':QQTOQT;:=I'JIQ:T=PI<='=O'X<JIT@=:<J'=RI'<:=XTI'O>'RIT'N:@IE''$R:='TIeXI@='S:@'JI<;IJE'

     Gb^E      5@E'COR<d@'-OX@;<?'#<YI@=;?:=;O<'!<;='=TI:=IJ'89:;<=;>>'9;UI':<'OTJ;<:TM'=I<:<='S;=R':'@POUI'

        NOPQ9:;<=':<J'@ROSIJ'<O'NOPQTIRI<@;O<'O>'=RI'@QIN;>;N'QTO=IN=;O<@'NOYITIJ'VM'=RI';<=IT@IN=;O<'

        O>')&)':<J'.-)'9:SE''$R;@'S:@'IY;JI<='IYI<':>=IT'89:;<=;>>'@I<='&-*'JONXPI<=@'OX=9;<;<?'=RI'

        YITM'@QIN;>;N';@@XI'O>'ROS'.-)'9:S':JJTI@@I@'=RI'@XVhIN='O>'@INO<J2R:<J'@POUI';<'TI9:=;O<'=O'

        QIT@O<@'S;=R'J;@:V;9;=;I@'=R:=':TI'@I<@;=;aIJ'=O';=':<J':JYIT@I9M';PQ:N=IJ'VM';=E''$RI@I'JONXPI<=@'

        :<J'O=RIT'9I?:9'TI>ITI<NI@'SITI':9@O':==:NRIJ':@'IgR;V;=@'S;=R'89:;<=;>>d@'TIVX==:9E'

     G\[E      ,<I'O>'=RI':VOYI'TI>ITI<NIJ'JONXPI<=@'S:@'QTOJXNIJ'VM'=RI'<O<2QTO>;='$RI'+I<=IT'>OT'

        (ON;:9'BITO<=O9O?M6';<')<<')TVOT6'5;NR;?:<6'VX=':JJTI@@I@':<J'OX=9;<I@'=RI'9I?:9':T?XPI<=@'

        NO<NIT<;<?'.IJIT:9'9:SE'''''#='@=:=I@7'

'       '      _It is clear that, if secondhand smoke infiltration or seepage substantially                impairs
a disabled person in their housing, the FHA requires the                             owner/landlord to protect the
individual's health by making reasonable                       accommodations in the housing. If an
owner/landlord fails to do so, s/he                   may be found liable under the FHA for having


!                                                      #"!
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discriminated against the                     disabled person.”

'      ''''''')<J'

              “Such accommodations might include, among others, the following:
       enforcement of existing smoke-free or no smoking policies of the housing
       management;…”

           And

'       '      _#>':'QIT@O<';@'J;@:V9IJ':<J'=R;@'NO<J;=;O<';@'N:X@IJ'OT'Ig:NITV:=IJ'VM'''
'       @INO<JR:<J'@POUI6'=RI'OS<ITW9:<J9OTJ6':@'@=:=IJ'VM'-!&6'P:M'<O=7'
'     '     '     o'*I>X@I'=O'P:UI'TI:@O<:V9I':NNOPPOJ:=;O<@';<'TX9I@6'QO9;N;I@6''      '       '
'     QT:N=;NI@'OT'@ITY;NI@';>'<INI@@:TM'>OT'=RI'J;@:V9IJ'QIT@O<'=O'X@I'=RI''     '     '
'     ROX@;<?E'
'       '      *I>X@:9'=O'P:UI'@XNR'TI:@O<:V9I':NNOPPOJ:=;O<@';@'J;@NT;P;<:=;O<'' '             '    X<JIT'
=RI'.-)E')<J6':@'<O=IJ':VOYI6'@;PQ9M'P:U;<?':'<XPVIT'O>''           '     '       :==IPQ=@'=O':NNOPPOJ:=I'
=RI'J;@:V9IJ'QIT@O<';@'<O='<INI@@:T;9M''     '      '       @X>>;N;I<=E'/RI=RIT'=RI':NNOPPOJ:=;O<@'P:JI'
:TI'@X>>;N;I<='S;99'VI'''      '      JI=ITP;<IJ'O<':'N:@I2VM2N:@I'V:@;@Ed'
'
     G\GE      #9:5?@=B=98'KIPQR:@;@':JJIJL'O>'=C4A849D*EIPQR:@;@':JJIJL'<O2@POU;<?'QO9;N;I@';@':99'

        89:;<=;>>'R:@':@UIJ'>OTE'''

    G\HE         #<@=I:J6'@RI'R:@'VII<'9I>='=O'9:<?X;@R';<'P;@ITM'S;=R'NRTO<;N'JIV;9;=:=;<?'P;?T:;<I'

        RI:J:NRI@6'<:X@I:6'PM@=IT;OX@'@I;aXTI29;UI'TI:N=;O<@6':<OP:9OX@'V9OOJ'SOTU':<J6'JXI'=O'=RI'

        JI9:M';<'OV=:;<;<?':<M'RI9Q6':99':@QIN=@'O>'89:;<=;>>d@'RI:9=R'R:YI'NO<=;<XIJ'=O'JI=IT;OT:=I'j'VO=R'

        PI<=:99M':<J'QRM@;N:99ME'''

    G\ZE         $RI'O<9M'TI@QO<@I@'89:;<=;>>'R:@'TINI;YIJ':>=IT':@U;<?'>OT'RI9Q'R:YI'VII<7'VI;<?'VTX=:9;aIJ'

        VM'QO9;NI6'RXP;9;:=IJ';<'>TO<='O>'>T;I<J@':<J'<I;?RVOT@6'9ONUIJ'XQ';<'Q@MNR'S:TJ@6'IPO=;O<:99M':<J'

        Q@MNRO9O?;N:99M':VX@IJ'VM'P:<:?IPI<=':<J'@=:>>';<'RIT'OS<'ROPI':<J'VII<'>OTNIJ'=O'@QI<J'

        IYITM'OX<NI6'O>'SR:='9;==9I'I<IT?M'@RI'R:@6'>;?R=;<?'=R;@'V:==9I';<':<'I>>OT='=O'P:UI'=R;@'J:;9M'

        =OT=XTI'I<Jj'@RI';@'<O'N9O@IT'=O':NR;IY;<?'=R:='?O:9'=OJ:M'=R:<'@RI'S:@':='=RI'@=:T=j'MI:T@':?OE'

    G\bE         89:;<=;>>d@'J:;9M'QRM@;N:9'P;@ITM'R:@'N:X@IJ'RIT'=O'?:;<'\['9V@E'@;<NI'POY;<?';<=O'RIT'NXTTI<='

        :Q:T=PI<=6'@;g'MI:T@':?O6':<J'VINOP;<?'VIJT;JJI<'PO@='J:M@'VM'P;?T:;<I'Q:;<'OT'IgR:X@=;O<'JXI'

        =O'9:NU'O>'@9IIQ'JXT;<?'=RI'<;?R=E' '

    G\\E         89:;<=;>>d@'@;PQ9I'TIeXI@='=O'I<>OTNI'=RI'<O2@POU;<?'QO9;NM';<'RIT'VX;9J;<?';@'<O='O<9M'

        TI:@O<:V9I6'VX='NO<@=;=X=I@'=RI'YITM'@9;?R=I@='O>':NNOPPOJ:=;O<@E'


!                                                       ##!
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    G\fE     !<>OT=X<:=I9M6'&-*':<J':99'=RI;T'IPQ9OMII@'<:PI';<'=R;@'@X;=6'NO99XJIJ'=O'NO<Y;<NI'89:;<=;>>'

       =R:=6'JI@Q;=I':99'IY;JI<NI'@XQQ9;IJ':<J':99'9I?:9':T?XPI<=@'QTI@I<=IJ6'RIT'T;?R=@'J;J'<O='Ig;@=E'''

    G\iE     &-*'NO99IN=;YI9M';@@XIJ':'JI=ITP;<:=;O<'J;@P;@@;<?'89:;<=;>>d@'NOPQ9:;<=':<J'I>>IN=;YI9M'

       JI<M;<?'RIT'IeX:9'QTO=IN=;O<'X<JIT'=RI'9:S@6'SR;NR':TI'PI:<='=O'QTO=IN='RIT';<'RIT'YX9<IT:V9I'

       J;@:V9IJ'@=:=IE'''

                  678+*.3>.33-3+#"3-+")*+>.&&'&3+DD7823+,-%",,<+1,"4-*+*-#.3.')+
                        +*-1-)*.)%+,"4,-33+,")*,'&*+")*+"K(3.;-+)-.%5K'&++
                                                     +
    G\]E     &-*':NNIQ=IJ'89:;<=;>>d@'9:<J9OTJd@'T;J;NX9OX@':T?XPI<='=R:='=RI'JOXV9I2@QI:U';<'=RI'<O2

       @POU;<?'9I:@I'T;JIT6'SR;NR'@=:=I@'=R:='hX@='VIN:X@I'=RI'VX;9J;<?';@'@POUI2>TII'=RIM'SITI'<O='

       TIeX;TIJ'=O'I<@XTI'=RI'VX;9J;<?'S:@'@POUI2>TII6'@XQIT@IJIJ'89:;<=;>>d@'J;@:V;9;=M'T;?R=@E''$RI'

       >9:S@';<'=R;@':TI':V@XTJE'

    G\^E     &-*d@'>;<:9'JI=ITP;<:=;O<'SI<='O<'=O'TIQI:='=RI'@:PI'>9:SIJ'9;@='O>'_:NNIQ=:V9I'

       :NNOPPOJ:=;O<@`'QTOQO@IJ'VM'++-*':<J'IYI<'TIQI:=IJ'=RI'Ig:N='@:PI'P;@TIQTI@I<=:=;O<@'O>'

       89:;<=;>>d@'TI@QO<@I'=O'=RO@I'@X??I@=;O<@j'<:PI9M':NNX@;<?'89:;<=;>>'O>'VI;<?'_X<NOOQIT:=;YI`j'

       SR;NR'S:@'X<=TXIE'''89:;<=;>>'@;PQ9M'@:;J'GL'@RI':9TI:JM'OS<IJ':'&M@O<':;T'QXT;>;IT':<J'HL'@RI'

       SOX9J'9I='P:<:?IPI<='NR:<?I'RIT'-A)+':<J'S:@RIT'>;9=IT@'KVX='U<IS'=R:='S:@'<O='=RI'@OXTNI'O>'

       =RI'>XPI@LE''-OSIYIT6'=RI'PO@='O>>I<@;YI'@X??I@=;O<'S:@6';<JIIJ6'>9:=9M'JIN9;<IJ'VM'89:;<=;>>'

       VIN:X@I';='S:@':V@XTJ9M'X<>:;TE''++-*':<J'&-*'VO=R'I<JOT@IJ'=RI'NO<NIQ='=R:='89:;<=;>>'@ROX9J'

       R:YI'=O'POYI'OX='O>'RIT':Q:T=PI<='SR;9I'=RI'9I:@I'Y;O9:=;<?'JOS<@=:;T@'<I;?RVOT'VI'9I>=';<'QI:NIE''

       $R;@'S:@'<O<@I<@;N:9':<J'@ROSIJ':<'IPV:TT:@@;<?'9:NU'O>'9I?:9'QTOSI@@E''&-*'S:@':N=X:99M'

       I<JOT@;<?'89:;<=;>>d@'_NO<@=TXN=;YI'IY;N=;O<`'j'SR;NR';@':'Y;O9:=;O<'O>'VO=R'@=:=I':<J'>IJIT:9'

       ROX@;<?'9:S@E''

                   67823+*-/-&>.)"/.')+#'>:,-/-,<+.%)'&-3+)(>-&'(3+#,".>3+
                          +45.#5+4-&-+.)#,(*-*+.)+0,".)/.1123+#'>:,".)/+
                                                  +
    Gf[E     -OSIYIT6'&-*d@'TI>X@:9'=O'QTOQIT9M'JI>I<J'89:;<=;>>'O<'=RI'@POU;<?';@@XI'S:@'<O='=RI'9;P;='

       O>'=RI;T'OVY;OX@'NO<=IPQ='>OT'89:;<=;>>':<J'TI>X@:9'=O'O>>IT'RIT'IeX:9'QTO=IN=;O<'X<JIT'=RI'9:SE'

    GfGE     89:;<=;>>d@'TIVX==:9';<N9XJIJ'Y;JIO@':<J':XJ;O'IY;JI<NI'O>'=RI':VX@I':<J'TI=:9;:=;O<'@RI'


!                                                   #$!
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       @X>>IT':='=RI'R:<J@'O>'RIT'VX;9J;<?d@'P:<:?IPI<=':<J'@=:>>E'',<I'Y;JIO'IYI<'@ROSIJ':'@=:>>'

       PIPVIT'QRM@;N:99M':@@:X9=;<?'=RI'89:;<=;>>'SRI<'RI'VIN:PI'I<T:?IJ'OYIT'=RI'89:;<=;>>'>;9P;<?'R;P'

       TI>X@;<?'RIT'@ITY;NIE''&-*'J;J'<O='IYI<':JJTI@@'=RI'P:==IT';<'=RI;T'J;@P;@@:9E'

    GfHE     8RO=O?T:QR;N'IY;JI<NI'O>'HZ'9I:U@':<J'=RI'TO==;<?'S:=IT'J:P:?IJ'S:99@6'89:;<=;>>'R:@'JI:9='

       S;=R'>OT'f'MI:T@6'SITI'@XQQ9;IJ';<'RIT'TIVX==:9E'')@'SI99':@6'JONXPI<=@'>TOP':'&IQ:T=PI<='O>'

       cX;9J;<?@';<@QIN=;O<'O>'89:;<=;>>d@'X<;=6'SR;NR'9IJ'=O'=RI';PQO@;<?'O>':'nH\['>;<I'>OT'>:;9XTI'=O'

       P:;<=:;<'=RI'VX;9J;<?';<':'NOJI'NOPQ9;:<='P:<<ITE''0I=6'&-*'>:;9'=O'IYI<'PI<=;O<'=R;@':@QIN='O>'

       89:;<=;>>d@'N9:;P';<'=RI;T'JI=ITP;<:=;O<E''

    GfZE     $R;@'YITM'PO<=R6'O<'CX9M'H6'H[Hb6':>=IT'&-*';?<OTIJ'89:;<=;>>d@'N9:;P@6'89:;<=;>>'N:99IJ'=RI'

       &,c';<@QIN=OT'V:NU'=O'RIT':Q:T=PI<=E''$R;@'=;PI'=RI';<@QIN=OT';PQO@IJ':'nfH\'>;<I'>OT'NO<=;<XIJ'

       >:;9XTI'=O'P:;<=:;<'=RI'VX;9J;<?';<':'NOJI'NOPQ9;:<='P:<<ITE''''

    GfbE     89:;<=;>>d@'9:<J9OTJ'R:@':9@O'VII<'X<JIT':'(IN=;O<']'@:<N=;O<'@;<NI'5:TNR'G6'H[Hb'>OT'=RI'

       @:PI'>:;9XTI@'>OT'SR;NR'=RI'&,c';@@XIJ'=RI;T'N;=:=;O<E'''

    Gf\E     )<J'=O'@ROS'&-*'hX@='ROS'X<9:S>X9':<J':VX@;YI'89:;<=;>>d@'9:<J9OTJ';@6'@RI'>OTS:TJIJ'&-*'

       :<'IP:;9'>TOP'=RI'9:<J9OTJ'SR;NR'NO<=:;<IJ':'V9:=:<=9M';99I?:9'=RTI:='=O'@XI'89:;<=;>>'>OT'=RI'

       X<Q:;J'QOT=;O<@'O>'TI<='S;=RRI9J'VM'-8&'JXT;<?'=RI'QIT;OJ'O>'@:<N=;O<E'

    GffE     &-*'PONU;<?9M'TIQ9;IJ'VM'@;PQ9M'@=:=;<?'=R:=';>'89:;<=;>>'>I9='@RI'R:J':<O=RIT'N9:;P6'@RI'S:@'

       >TII'=O'@=:T=':'<IS'N:@I'OT'R;TI'RIT'OS<'9:SMITE''

    GfiE     89:;<=;>>d@'TIVX==:9':9@O';<N9XJIJ'IY;JI<NI'O>':'@NRIPI6'VM'RIT'9:<J9OTJ6'=O';<hIN=';99I?:9'

       9:<?X:?I';<=O'9I:@I'TI<IS:9@6'JI@;?<IJ'=O'X<JITP;<I'=I<:<=@'S;=R':>>OTJ:V9I'TI<=@E''89:;<=;>>':9@O'

       ;<N9XJIJ';<'RIT'TIVX==:96'IY;JI<NI'O>'-8&'@=IQQ;<?';<'O<'89:;<=;>>d@'VIR:9>':<J'>OTN;<?'89:;<=;>>d@'

       9:<J9OTJ'=O'TIPOYI'=RI'O>>I<J;<?'N9:X@I@'>TOP'=RI'9I:@I'TI<IS:9@E''$RI'IgN;@IJ'N9:X@I@'SITI'

       ?;Y;<?'=RI'9:<J9OTJ'N:QT;N;OX@'_9OOQRO9I`'IgNX@I@'=O'TIQI:9'=RI':>>OTJ:V9I'TI<=@':<J'TIQ9:NI'=RIP'

       S;=R':POX<=@'=R:='SITI'\[l'R;?RITE''

    Gf]E     $RI'Q9I=ROT:'O>'IY;JI<NI6'89:;<=;>>'@XQQ9;IJ'=O'&-*6'S:@';<=I<JIJ'=O'@QI:U'=O'=RI'PO=;YI'

       VIR;<J'=RI'9:<J9OTJd@'TI=:9;:=;O<':?:;<@='=RI'89:;<=;>>E''-OSIYIT6';='S:@'NOPQ9I=I9M';?<OTIJ'VM'


!                                                    #%!
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       &-*6':@'=RI;T'>;<:9'JI=ITP;<:=;O<'J;J'<O='IYI<'PI<=;O<'89:;<=;>>d@'N9:;P@'O>'TI=:9;:=;O<E'

    Gf^E         &-*':9@O'NOPQ9I=I9M';?<OTIJ'89:;<=;>>d@'NOPQ9:;<=@':VOX='NRTO<;N:99M'VTOUI<'J;@:V;9;=M'

       JOOT@':='=RI'>TO<='I<=T:<NI'O>'RIT'VX;9J;<?E'

    Gi[E         &-*';<=I<=;O<:99M':YO;JIJ':JJTI@@;<?'=RI'>:N='=R:='=RI'NOTI'O>'89:;<=;>>d@'N9:;P@'S:@'=RI'>:N='

       =R:='RIT'9:<J9OTJ'S:@'X@;<?'RIT'J;@:V;9;=M':@':'SI:QO<E''$RI'9:<J9OTJ'S:@'=;TIJ'O>'R:Y;<?'R;@'

       X<9:S>X9'VIR:Y;OT'N:99IJ'OX='VM'=RI'89:;<=;>>6':<J'@O6'I<NOXT:?I'=RI'9I:@I'Y;O9:=;<?'VIR:Y;OT'O>'

       89:;<=;>>d@'JOS<@=:;T@'<I;?RVOTE''$RI';@@XI'S;=R'=RI'>XPI@'I<=IT;<?'89:;<=;>>d@':Q:T=PI<='VIN:PI':'

       U<OS<'>:N=OT'=RI'>;T@='MI:T':>=IT'89:;<=;>>'POYIJ';<'KH[Gi2H[G]LE'''$RI'NRTO<;N2<I@@'O>'=RI'

       QTOV9IP'J;J'@=OQ':<J'@=:T='POTI'=R:<'O<NIj'SRI<'VX;9J;<?'P:<:?IPI<='S:@'@=;99'ONN:@;O<:99M'

       TI@QO<J;<?'=O'89:;<=;>>d@'NOPQ9:;<=@E'''cX=6':@'89:;<=;>>d@'TI9:=;O<@R;Q'S;=R'=RI'P:<:?IPI<='O>'=RI'

       VX;9J;<?'JI=IT;OT:=IJ6'=RI'NRTO<;N'>XPI'QTOV9IP'TI=XT<IJ';<'I:T<I@=E'5:<:?IPI<='R:YI'@;<NI'

       =:UI<'XQ'9M;<?':<J'Q9:MIJ'?:PI@'SR;9I'TI>X@;<?'=O'I<J'=RI'<I;?RVOTd@'9I:@I'Y;O9:=;<?'VIR:Y;OTE''#='

       R:@'VINOPI'N9I:T6':@'89:;<=;>>'N9:;PIJ';<'RIT'NOPQ9:;<=@'>;9IJ'S;=R'++-*6'-!&':<J'&-*6'=R:='

       P:<:?IPI<='S:<='=O'>OTNI'89:;<=;>>'=O'?;YI'XQ':<J'hX@='POYI'OX=j':<J'=RIM'R:YI'<O'eX:9P@'

       :VOX='X@;<?'89:;<=;>>d@'J;@:V;9;=M'YX9<IT:V;9;=;I@6'=O'@POUI':<J'NRIP;N:9'>XPI@6'=O':NR;IYI'=RI;T'

       ?O:9E''

                          L5"/+4"3+/5-+>'/.;-+K-5.)*+67823+>.35")*,.)%+'1+#"3-M+

    GiGE         #@';=':'NO;<N;JI<NI'=R:='=RI'YITM'@:PI';@@XI@';?<OTIJ'VM'&-*'SITI':9@O';?<OTIJ'VM'=RI'

       OYIT=9M'T:N;@='++-*p'

    GiHE         )@':'P:==IT'O>'>:N=6'&-*d@'>9:SIJ'JI=ITP;<:=;O<'S:@'@O'@;P;9:T'=O'++-*d@'N9XP@M6'@9:<=IJ'

       J;@P;@@:96'=R:='O<I'NOX9J'R:YI'VII<'_9;>=IJ`'>TOP'=RI'O=RITE''

    GiZE         )<J'SR;9I6'&-*'IPQ9OMII@'SITI'@XV=9I'I<OX?R'<O='=O'P:UI'=RI'@:PI'V9:=:<=6'V9X<JIT;<?'

       T:N;@='@=:=IPI<=@'P:JI'VM'++-*6'=RI;T'JI=ITP;<:=;O<'@QI<=':<';<OTJ;<:=I':POX<='O>'=;PI'

       :N=X:99M':==:NU;<?'=RI'89:;<=;>>':<J';<@;<X:=;<?'=R:='89:;<=;>>'S:@'?X;9=M'O>'R:T:@@;<?'=RI'_I9JIT9M`'

       -;@Q:<;N'SOP:<'9;Y;<?';<'=RI':Q:T=PI<='VI<I:=R'RIT':<J'N9:;P;<?'=R:='89:;<=;>>'S:@'@OPI'ROS'

       N:QT;N;OX@9M'=TM;<?'=O'?I='RIT'<I;?RVOT'IY;N=IJE'''


!                                                       #&!
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    GibE     cO=R6'++-*':<J'&-*6';<=I<=;O<:99M'P;@NO<@=TXI'89:;<=;>>d@'@=:=IPI<=@':VOX='JIP:<J;<?'=RI'

       <I;?RVOT'VI'RI9J':NNOX<=:V9I'>OT'Y;O9:=;<?'=RI'VX;9J;<?'<O2@POU;<?'QO9;NM':<J'IYI<'?O'OX='O>'

       =RI;T'S:M'=O'@MPQ:=RI=;N:99M'9:VI9'=RI'<I;?RVOT'_I9JIT9M`'=ROX?R'@RI';@'O<9M'Gb'MI:T@'O9JIT'=R:<'

       89:;<=;>>E'')<J'VO=R':?I<N;I@'NO<YI<;I<=9M'9I:YI'OX=':<M'PI<=;O<'O>'=RI'<I;?RVOTd@'J:X?R=IT'SRO'

       ;@'PXNR'MOX<?IT'=R:<'89:;<=;>>':<J'<O='J;@:V9IJ'OT';PQ:;TIJ';<':<M'S:ME'''

    Gi\E     +IT=:;<'N;TNXP@=:<NI@'SOX9J'@X??I@=';=';@'=RI'J:X?R=IT'JO;<?':'P:hOT;=M'O>'=RI'Y:Q;<?6':@'

       @RI'R:@'VII<'>OX<J'ONNXQM;<?'=RI':Q:T=PI<=';<'RIT'PO=RIT@':V@I<NI'JXT;<?'QIT;OJ@'SRI<'=RI'

       Y:Q;<?'TIQ9:NIJ'=RI'@POU;<?E''!<>OT=X<:=I9M6'=RI'Y:QI'NRIP;N:9@';PQ:N='89:;<=;>>'IYI<'POTI'

       :JYIT@I9M'=R:<'=RI'@POUIE''''

    GifE     *I?:TJ9I@@'O>':99'=RI';<>OTP:=;O<'@XQQ9;IJ'=O'&-*6'=RIM'NOPQ9I=I9M';?<OTIJ':99'O>';=E''

       #<@=I:J6'&-*d@'J;@P;@@:9'@=TI@@I@'K?T:=X;=OX@9M'PI<=;O<;<?';='=S;NIL'=R:='89:;<=;>>'N:99IJ'RIT'

       JOS<@=:;T@'<I;?RVOT6':'_<X;@:<NI'<I;?RVOT6`':@';>'=O';PQ9M';PQTOQT;I=M'O<'=RI'Q:T='O>'89:;<=;>>E'''

       )TI'=RI':==OT<IM@':='&-*'@O'X<>:P;9;:T'S;=R'=R:='=ITP6'SR;NR';@'NOPPO<9M'X@IJ'=O'JI@NT;VI':'

       =I<:<='SRO'TI>X@I@'=O':V;JI'ROX@I'QO9;N;I@'=O'=RI'JI=T;PI<='O>'=RI'O=RIT'=I<:<=@p'''

    GiiE     )<J6'=ROX?R'c,$-'KPO=RIT':<J'J:X?R=ITL'9:S9I@@6'9I:@I2Y;O9:=;<?'<I;?RVOT@'VI9OS'

       89:;<=;>>6':TI'Y;N;OX@9M':<J'U<OS;<?':VX@;<?'=RI;T'J;@:V9IJ'<I;?RVOT6'VO=R'++-*':<J'&-*'

       ;<IgQ9;N:V9M':<J';TT:=;O<:99M'@ROS'POTI'NO<NIT<'>OT'=RIP'=R:<'=RIM'JO'>OT'=RI'89:;<=;>>E'''

    Gi]E     $RI'O<9M'IgQ9:<:=;O<'=R:='@IIP@'OVY;OX@6':<J'>;=@';<=O'=RI@I':?I<N;I@'@=:=IJ'&%#'?O:9@6';@'

       =RI'>:N='=R:='=RI'<I;?RVOT@':TI'-;@Q:<;N'P;<OT;=;I@E''$R;@'X<9:S>X9'T:N;:9'V;:@';@'JIQT;Y;<?'=RI'

       89:;<=;>>'IeX:9'QTO=IN=;O<'X<JIT'=RI'9:S':<J'Y;O9:=;<?'RIT'J;@:V;9;=M'T;?R=@E'

    Gi^E     #=';@'POTI'=R:<'N9I:T';<'=RI'>;<:9'JI=ITP;<:=;O<'=R:='&-*'S:@'POTI'NO<NIT<IJ':VOX='

       89:;<=;>>d@'<I;?RVOT@'=R:<'=RIM'SITI'S;=R'89:;<=;>>d@'J;@:V;9;=M'T;?R=@E''&-*d@'J;@P;@@:9'X9=;P:=I9M'

       I<JOT@IJ'=RI';JI:'=R:='=RI@I'<I;?RVOT@'@ROX9J'VI':99OSIJ'=O'VTI:U'=RI'9I:@I'QO9;N;I@':<J'Y;O9:=IJ'

       89:;<=;>>d@'T;?R=@6'QTI@XP:V9M'VIN:X@I'=RI;T'P;<OT;=M'@=:=X@'OX=SI;?R@'89:;<=;>>d@'J;@:V;9;=M'<IIJ@E''

       $R;@'S:@'<O='@=:=IJ':@'V9:=:<=9M':@'++-*'R:J'@=:=IJ';=6'VX='=RI'I<J'TI@X9='S:@'=RI'@:PIE''

    G][E     &-*d@'>;<:9'JI=ITP;<:=;O<';?<OTIJ')44'O>'89:;<=;>>d@'J;@:V;9;=M'T;?R=@6':99'RIT'IY;JI<NI'O>'


!                                                   #'!
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       TI=:9;:=;O<':<J':99'O=RIT'T;?R=@'=O'=I<:<='R:T:@@PI<='QTO=IN=;O<E'''&-*d@'JI=ITP;<:=;O<'R:@'

       I>>IN=;YI9M'I<JOT@IJ':99'O>'89:;<=;>>d@'9:<J9OTJd@':VX@I@':<J'=RI'U<OS;<?':VX@I'>TOP'89:;<=;>>d@'

       <I;?RVOT@j':<J'NOPQ9I=I9M':<J'=O=:99M'JI<;IJ'89:;<=;>>'IeX:9'QTO=IN=;O<'X<JIT'=RI'9:SE''

    G]GE     (XNR':<';TT:=;O<:96'VTO:J':<J'NOPQ9I=I'JI<;:9'O>'QTO=IN=;O<'>OT':'J;@:V9IJ'89:;<=;>>'PX@='VI'

       PO=;Y:=IJ'VM'@OPI=R;<?E''89:;<=;>>'NO<=I<J@'=R:='=RI'PO@='9;UI9M'TI:@O<';@'VOT<'>TOP'=RI'@=:=IJ'

       :<=;2+:XN:@;:<'T:N;@='QT;OT;=;I@'I@QOX@IJ'VM'VO=R'++-*':<J'&-*j'RI<NI'T:N;:9'J;@NT;P;<:=;O<E'

    G]HE     &-*':QQI:T@'=O'VI'I@QOX@;<?'=RI'@:PI':<=;2+:XN:@;:<'QIJ:?O?M'VI;<?'QTOPO=IJ'O<'=RI'

       SIV@;=I'O>'++-*E'

    G]ZE     &-*';@'?X;9=M'O>'JIQT:YIJ';<J;>>ITI<NI'=O':'J;@:V9IJ'QIT@O<';<'Q:;<':<J':<=;2+:XN:@;:<'

       J;@NT;P;<:=OTM'QT:N=;NI@E'''

    G]bE     $RI'NOPQ9I=I'>:;9XTI'O>'&-*'=O'I<>OTNI'=RI'9:S@'SR;NR'SITI'JI@;?<IJ'=O'QTO=IN='QIOQ9I'

       S;=R'J;@:V;9;=;I@'R:@'9I>='89:;<=;>>'@=;99';<':?O<;a;<?'J:;9M'Q:;<E''5ITT;:P222/IV@=IT'JI>;<I@'=RI'YITV'

       >OTP'O>'=RI'SOTJ' _=OT=XTI`'=O'PI:<7'''

    ' '       '       GE'=O'N:X@I';<=I<@I'@X>>IT;<?m'=O'=OTPI<=6' '
    ' '       '       HE'=O'QX<;@R'OT'NOITNI'VM';<>9;N=;<?'IgNTXN;:=;<?'Q:;<E''
    '
    ' ''cM'=R;@'JI>;<;=;O<6'89:;<=;>>'NO<=;<XIJ'VI;<?'=OT=XTIJ'IYITM'J:M':<J'IYITM'<;?R=';<'RIT'OS<'ROPIE'
'
    G]\E      89:;<=;>>';@'@=;99'VI:T;<?'=RI'Q@MNRO9O?;N:9'=T:XP:'O>'VI;<?'QRM@;N:99M':@@:X9=IJ':<J'=RI<'

       >:9@I9M';PQT;@O<IJ':@':'J;TIN='TI@X9='O>':@U;<?'>OT'RI9Q'=O'@=OQ'=RI'J:;9M':VX@I'@RI'S:@'I<JXT;<?'

       ;<'RIT':Q:T=PI<=E'

    G]fE      $RI';<hX@=;NI':<J';TO<M':TI'VIMO<J'Q:;<>X9E'
'
'
            9(&/5-&+!"#$%&'()*+'1+9".&+7'(3.)%+D'>:,".)/+1'&+45.#5+0,".)/.11+8-N(-3/-*+
                                 A33.3/")#-+1&'>+DD78I+7J6+")*+678+
                                                     +'
                         K$RI@I';@@XI@':TI'O<9M'V:NU?TOX<J6'=O'I@=:V9;@R'Y:9;J;=M'O>'
                 N:@I'VTOX?R='=O'&-*':<J':TI'",$'=RI'QT;P:TM'N:X@I@'O>':N=;O<';<'=R;@'N:@IL'
'
    G]iE      ,<',N=OVIT'H6'H[Gi6'>;YI'J:M@':>=IT'89:;<=;>>d@'Q;NUIJ'XQ'=RI'UIM@'>OT'RIT'<IS':Q:T=PI<=6'

       9ON:=IJ':='\[i'/'H]=R'(=TII=6'"0E'"06':'P:@@;YI'XQ@=:;T@'>9OOJ'N:X@IJ'@XV@=:<=;:9'J:P:?I'=O'

       89:;<=;>>d@':Q:T=PI<='X<;=E' #='S:@'=RI'>;T@='O>'=RTII'@IQ:T:=I'S:=IT'J:P:?I';<N;JI<=@'=O'ONNXT';<'


!                                                     #(!
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       =RI'>;T@='=SO'SIIU@'O>'RIT'=I<:<NM':<J'=RI'>;T@='O>'Hb'@XNR';<N;JI<=@'=O'ONNXT';<'@;g'MI:T@'9I:J;<?'

       XQ'=O'=RI'J:=I'O>'=R;@'NOPQ9:;<=E' $RI'VX;9J;<?';@'O<9M'@;g'MI:T@'O9JE'

    G]]E     $RI'(XQIT;<=I<JI<='TI>X@IJ'=O'N9I:<'XQ'=RI'NO<@=TXN=;O<'JX@='=R:='NOYITIJ'=RI'I<=;TI'

       :Q:T=PI<=':>=IT'=RI'TIQ:;T@'SITI'JO<IE' $R;@'S:@'JI@Q;=I'U<OS;<?'=R:='=RI'89:;<=;>>'S:@'

       J;@:V9IJ'VM':'VTOUI<'V:NU':<J'R:J'<O='IYI<'>X99M'POYIJ';<=O'=RI':Q:T=PI<='MI=E'

    G]^E     89:;<=;>>'S:@'NOP;<?'OX='O>'=RI'@RI9=IT'@M@=IP':<J':S:;=;<?'-XP:<'*I@OXTNI@'

       )JP;<;@=T:=;O<'=O':TT:<?I'POYIT@'=O'VT;<?'RIT'VI9O<?;<?@'>TOP'@=OT:?IE''/RI<'89:;<=;>>':@UIJ'

       =RI'(XQIT;<=I<JI<=';>'@RI'NOX9J':='9I:@='VOTTOS'R;@'VX;9J;<?'Y:NXXP6':<J'QITR:Q@':'POQE''-I'

       TXJI9M'=O9J'RIT'_<OE`'-I':JJIJ6'_0OX':9TI:JM'R:YI'=RI'UIM@E'0OX':TI'TI@QO<@;V9I'>OT'N9I:<;<?'

       MOXT'OS<':Q:T=PI<=E`'''89:;<=;>>6'S:@'>OTNIJ'=O'QXTNR:@I':'VTOOP6'POQ6'VXNUI=':<J':99'P:<<IT'

       O>'N9I:<;<?'@XQQ9;I@'=O'P:UI'=RI':Q:T=PI<='@X;=:V9I'>OT'RIT'=O'IYI<'Q:T=;:99M'POYI';<'SR;9I'

       S:;=;<?'>OT'JI9;YITM'O>'RIT'VI9O<?;<?@E''

    G^[E     $RI'N9I:<'XQ'N:X@IJ'89:;<=;>>'Ig=TIPI'Q:;<'>TOP'R:Y;<?'=O'IgIT='RIT'

      ;<hXTIJ'V:NUE'

    G^GE     &I:9;<?'S;=R'=RI'X9=T:222>;<I'JX@='V9:<UI=;<?'=RI':Q:T=PI<='>TOP'@:<J;<?'9:T?I'@S:=R@'O>'

       JTMS:99'QX==M6'N:X@IJ'89:;<=;>>'=O'?I=':'NM@=';<'RIT'T;?R='IMIm'SR;NR'TIP:;<IJ'X<=;9'H[HZ'SRI<'RIT'

       ,QR=R:9PO9O?;@='R:J'=O'@XT?;N:99M'TIPOYI';=E''89:;<=;>>6';@'9I?:99M'V9;<J';<'RIT'9I>='IMI':<J'@O'=R;@'

       hIOQ:TJ;aIJ'=RI'O<I'?OOJ'IMI'@RI'R:@E'''

    G^HE     /OTU':TI:@'NOYITIJ';@'@XNR'@;9=29;UI'JTMS:99'NOPQOX<J'JX@='X@X:99M'TIeX;TI'SOTUIT@'=O'

       SI:T'"2^\'TI@Q;T:=OT'P:@U@':<J'IMI'QTO=IN=;O<E''#='S:@'X<9:S>X9'>OT'=RI'89:;<=;>>d@'9:<J9OTJ'=O'

       9I:YI'89:;<=;>>d@':Q:T=PI<=';<'=R;@'R:a:TJOX@'NO<J;=;O<E'

    G^ZE     /RI<'=RI'NRTO<;N'9I:U;<?6'N:X@IJ'VM'=RI'(XQIT;<=I<JI<=d@'X<@U;99IJ'Q9XPV;<?':<J'=RI'

       OS<ITd@'QOOT'VX;9J;<?'NO<@=TXN=;O<6'S:@'TIQOT=IJ6'VM'=RI'89:;<=;>>6'=O'=RI'&IQ:T=PI<=',>'cX;9J;<?@'

       K&,cL'O<')QT;9'Hi6'H[G]6'=RI'OS<IT'S:@'@ITYIJ':<')]',)$-'A;O9:=;O<'q'_>:;9XTI'=O'P:;<=:;<'=RI'

       VX;9J;<?';<'NOJI'NOPQ9;:<='P:<<IT6'j`':<J'>;<IJ'nH\[E'

    G^bE     #<@=I:J'O>':QO9O?;a;<?'>OT'SR:='89:;<=;>>'R:J'VII<'NO<=I<J;<?'S;=R6'=RI'


!                                                    #)!
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'
      P:<:?IPI<=WOS<ITd@'I<=TI<NRIJ'=RIP@I9YI@';<=O':<'X<:NNIQ=:V9M':NT;PO<;OX@':<J'

      :JYIT@:T;:9'TI9:=;O<@R;Q'S;=R'=RI'89:;<=;>>E'

    G^\E      $R;@'I@N:9:=IJ';<=O':'<O<222@=OQ'@=T;<?'O>'R:T:@@PI<=@6'SR;NR';<=IT>ITIJ'S;=R'89:;<=;>>d@'9;>I6'

       RI:9=R':<J'QI:NI'O>'P;<JE''#=';<N9XJIJ7'

           :E''' *I>X@;<?'=O'TI=XT<'=RI'OT;?;<:9'@;?<IJ'9I:@IJ'>OT':9PO@=':'MI:T6'X<=;9'
'
              =RI;T'TI>X@:9'S:@'TIQOT=IJ'=O'-8&E''

           VE'''5:;9;<?'=RI'TI<IS:9'9:=I6'S;=ROX=':'QO@=P:TU':<J'V:NUJ:=;<?'=RI'NOYIT'9I==IT'=O'

              P:UI';='9OOU'9;UI';='S:@'P:;9IJ'=;PI9ME''$R;@'S:@'QTI@XP:V9M'=O'P:UI'89:;<=;>>'P;@@'

              RIT'9I:@I'TI<IS:9'TI=XT<'J:=IE'

           NE' #<@IT=;<?'9:<?X:?I';<'=RI'>;T@='TI<IS:9'9I:@I6'SR;NR'SOX9J':99OS'=RI'4:<J9OTJ'=O'

              ;99I?:99M':<J'N:QT;N;OX@9M'TI=T:N='=RI':>>OTJ:V9I'TI<=E' 89:;<=;>>'TIQOT=IJ'=R;@'=O'-8&':<J'

              =RIM'@=IQQIJ';<':<J'>OTNIJ'=RI'4:<J9OTJ'=O'VI'TIPOYIJ'=RI'X<9:S>X9'N9:X@I@E'

           JE''')@'89:;<=;>>'P:JI'=RI@I'TIQOT=@'O>'OS<ITd@'Y;O9:=;O<@'=O'
'
              :QQTOQT;:=I':X=ROT;=;I@6'@RI'VI?:<'VI;<?';<X<J:=IJ'VM'=Og;N'>XPI@'>TOP'=RI'=I<:<=';<'=RI'

              :Q:T=PI<='VI<I:=R'RITE'' $RI'>XPI@'SITI':'P;g'O>'@POUI6'Y:QI':<J'=Og;N'N9I:<;<?'>9X;J@'

              K;<:QQTOQT;:=I9M':ITO@O9;aIJ'VM'RI:=;<?'=O'NOYIT'=RI'@I<='O>'=RI'@POUIEoL' $RI'J:;9M'>XPI@'

              SITI'@O'=Og;N'89:;<=;>>'VIN:PI'=OO'J;aaM'=O'@=:<J':<J'O<'=SO'ONN:@;O<@'>I9='=RI'<IIJ'=O'?O'

              =O'=RI'IPIT?I<NM'TOOPE'

           IE''' )>=IT'89:;<=;>>'N:99IJ'>OT'PIJ;:=;O<'@ITY;NI@'=RTOX?R'Z2G2G':<J':'@I@@;O<''''   'S:@'RI9J'

           VI=SII<'89:;<=;>>':<J'RIT'9:<J9OTJ6'=RI'>XPI@'@=OQQIJE'

           >E' cX='=RI'9I:U@';<'89:;<=;>>d@':Q:T=PI<='NO<=;<XIJE'
'
           ?E' $RI'J;@:V;9;=M'JOOT@':='=RI'>TO<='I<=T:<NI'O>'=RI'VX;9J;<?'VI?:<'VTI:U;<?'JOS<'O<':'

              TI?X9:T'V:@;@':<J'TIP:;<;<?'X<TIQ:;TIJ'>OT'PO<=R@':=':'=;PIE'

           RE'''89:;<=;>>d@'NOPQ9:;<=@'SITI'PI='S;=R'T;J;NX9I':<J'TI=:9;:=OTM'' :VX@;YI'JI<;:9@'

           O>'@ITY;NI':<J'RO@=;9I'=TI:=PI<='>TOP'@=:>>'' :<J'P:<:?IPI<=E'



!                                                     #*!
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           ;E' )@'=R;<?@'I@N:9:=IJ';<':NT;PO<M'=RI'>XPI@'I<=IT;<?''       89:;<=;>>d@':Q:T=PI<='

           TI=XT<IJ';<'I:T<I@=E'

           hE' )'NO<NIT=IJ'N:PQ:;?<'O>'R:T:@@PI<=':?:;<@='=RI'89:;<=;>>'T:PQIJ'XQ6':<J'=RI'

              N;TNXP@=:<NI@'NO<NIT<;<?'=RI'>XPI@':QQI:TIJ'=O'QTI@I<=';=@I9>':@':'YITM'NO<YI<;I<='

              @OXTNI'O>':VX@I'JI@;?<IJ'=O'>OTNI'89:;<=;>>'OX='O>'=RI'VX;9J;<?E'

           UE''89:;<=;>>d@'>:;9XTI'=O'>;<J'9I?:9'QTO=IN=;O<@'I9@ISRITI6'9IJ'=O'RIT'':QQTO:NR;<?'++-*':<J'=RI<'

           -!&j'SRO'R:<JIJ'=RI'N:@I'O>>'=O'&-*E'

'
           oRI:=;<?'@XNR'N9I:<;<?'9;eX;J@':@'>9OOT'N9I:<IT':<J'>:VT;N'@O>=I<IT'O<'=RI'@=OYI'OT';<':'
           Y:QOT;aIT';@':'J:<?ITOX@'=TI<J'@R:TIJ'O<'@ON;:9'PIJ;:':<J'JIPO<@=T:=IJ''O<'Y;JIO'@R:T;<?'
           Q9:=>OTP@E' #='TI9I:@I'@XV@=:<=;:9':<J'=Og;N'9IYI9@'J:<?ITOX@'NRIP;N:9@';<=O'=RI':;TE'
'
'
'
                                            0(.+#+'13'(0,%1''
'
    G^fE      89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'(=:=I'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'

       &-*':<J';=d@'<:PIJ'IPQ9OMII@'X<JIT'bH'!E(E+E'r'G^]G6'G^]Z'>OT'J;@NT;P;<:=;O<'O<'=RI'V:@;@'O>'

       T:NI6';<'Y;O9:=;O<'O>'=RI'.OXT=II<=R')PI<JPI<='O>'=RI'!E'(E'+O<@=;=X=;O<E'

    G^iE      89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'(=:=I'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'

       &-*':<J';=d@''<:PIJ'IPQ9OMII@'X<JIT'bH'!E(E+E'r'G^]\KZL6'>OT'PX9=;Q9I':?I<=@'P;@TIQTI@I<=;<?'

       =RI'9:S6';<'NO<NIT=6':<J'VM'SR;NR'POJI6'J;J'NO<@Q;TI'=O'JI<M6':<J'J;J'JI<M6'89:;<=;>>'IeX:9'

       QTO=IN=;O<'X<JIT'=RI'"IS'0OTU'+;=M')JP;<'+OJI'$;=9I']'+;Y;9'*;?R=@'I='@IeE':<J'"IS'0OTU'

       +O<@O9;J:=IJ'4:S@E'+;Y;9'*;?R=@'4:S'q'+A*'r'G'I='@Ie'6'V:@IJ'O<'RIT'T:NI';<'Y;O9:=;O<'O>'=RI'

       .OXT=II<=R')PI<JPI<='O>'=RI'!E'(E'+O<@=;=X=;O<E'

    G^]E     89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'(=:=I'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'&-*'

       :<J';=d@'<:PIJ'IPQ9OMII@6'X<JIT'bH'!E(E+E'r'G^]G6G^]Z6'G^]\KZL6'G^]f'>OT'PX9=;Q9I':?I<=@'

       P;@TIQTI@I<=;<?'=RI'9:S6';<'NO<NIT=6':<J'VM'SR;NR'POJI6'J;J'NO<@Q;TI'=O'JI<M6':<J'J;J'JI<M6'

       89:;<=;>>'IeX:9'QTO=IN=;O<'X<JIT'=RI'9:S'S;=R'TI?:TJ'=O'RIT'T;?R=@'X<JIT'=RI')PIT;N:<@'S;=R'

       &;@:V;9;=;I@')N='K)&)L':<J'=RI'.:;T'-OX@;<?')N='K.-)L':<J'J;J'@ROS'<I?9;?I<NI'=O'QTIYI<='RIT'

       :VX@I':<J'R:TP'JXI'=O'@XNR'9:NU'O>'QTO=IN=;O<'VM'=RI@I'9:S@':<J' bH'!E(E+E'+R:Q=ITGHfE'$R;@';@'


!                                                     $+!
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       Q:T=;NX9:T9M'I?TI?;OX@':@6'QTO=IN=;<?'N;=;aI<d@'N;Y;9'T;?R=@6';@'=RI'@=:=IJ'QXTQO@I'O>'=RI'Ig;@=I<NI'O>'

       &-*E'

    G^^E       89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'(=:=I'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'&-*'

       :<J'=RI;T'<:PIJ'IPQ9OMII@6'X<JIT'bH'!E(E+E'r'G^]Z6'G^]]':<JWOT'"IS'0OTU'NOPPO<'9:S'>OT'

       ;<=I<=;O<:9':<J'<I?9;?I<=';<>9;N=;O<'O>'IPO=;O<:9'J;@=TI@@E'

    H[[E       89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'(=:=I'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'&-*'

       :<J'=RI;T'<:PIJ'IPQ9OMII@6'X<JIT'bH'!E(E+E'r'G^]Z6'G^]]':<JWOT'"IS'0OTU'NOPPO<'9:S'>OT'

       TI=:9;:=;O<6'N:TT;IJ'OX='S;=R'P:9;NI6'>OT'=RI';<=I<JIJ'QXTQO@I'O>';<=;P;J:=;<?'89:;<=;>>':<J'

       J:P:?;<?'RIT'NTIJ;V;9;=M'S;=R'TI?:TJ'=O'RIT'N9:;P@E'

    H[GE       89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'(=:=I'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M'X<JIT'bH'

       !E(E+E'r'G^]Z6'G^]]':<JWOT'"IS'0OTU'NOPPO<'9:S'>OT'<I?9;?I<='@XQITY;@;O<':<J'9:NU'O>'

       :QQTOQT;:=I'=T:;<;<?'O>'&-*'<:PIJ'IPQ9OMII@E'

    H[HE       89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'+;=M'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'"08&'

       :<J'"0.&'%5(':<J'=RI'<:PIJ'IPQ9OMII@'O>'=RI@I':?I<N;I@6'X<JIT'bH'!E(E+E'r'G^]Z6'G^]]':<J'

       "IS'0OTU'NOPPO<'9:S'>OT'X<9:S>X9';PQT;@O<PI<=';<'Y;O9:=;O<'O>'=RI'.OXT=II<=R')PI<JPI<='

       O>'=RI'!E'(E'+O<@=;=X=;O<':<J'"IS'0OTU'NOPPO<'9:SE'

    H[ZE       89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'+;=M'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'=RI'

       "08&':<J'"0.&'%5(':<J'=RI'<:PIJ'IPQ9OMII@'O>'=RI@I':?I<N;I@6'X<JIT'bH'!E(E+E'r'G^]Z':<J'bH'

       !E(E+E'+R:Q=ITGHf'>OT'Y;O9:=;<?'RIT'T;?R=@'X<JIT'=RI')PIT;N:<@'S;=R'&;@:V;9;=;I@')N='K)&)LE' .OT'

       >:;9XTI'=O'QTOQIT9M':@@I@@'89:;<=;>>6':<J'=:UI'JXI'N:TI6'VI>OTI'>OTN;V9M'=:U;<?'RIT'>TOP'RIT'ROPI'

       :<J'Y;O9:=;<?'RIT'JXI'QTONI@@';<'Y;O9:=;O<'O>'=RI'.OXT=II<=R')PI<JPI<='O>'=RI'!E'(E'+O<@=;=X=;O<E' '

    H[bE       89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'+;=M'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'"08&'

       :<J'"0.&'%5(':<J'=RI'<:PIJ'IPQ9OMII@'O>'=RI@I':?I<N;I@6'X<JIT'bH'!E(E+E'r'G^]Z6'G^]]':<JWOT'

       "IS'0OTU'NOPPO<'9:S'>OT';<=I<=;O<:9':<J'<I?9;?I<=';<>9;N=;O<'O>'IPO=;O<:9'J;@=TI@@E'

    H[\E       89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'+;=M'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'"08&'

       :<J'"0.&'%5(':<J'=RI'<:PIJ'IPQ9OMII@'O>'=RI@I':?I<N;I@6'X<JIT'bH'!E(E+E'r'G^]Z6'G^]]':<JWOT'


!                                                      $"!
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       "IS'0OTU'NOPPO<'9:S'>OT'JI>:P:=;O<6'S;=R'J:P:?I'=O'TIQX=:=;O<':<J'N:X@;<?'Ig=TIPI'

       IPV:TT:@@PI<=E'

    H[fE      89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'+;=M'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M';<'"08&'

       :<J'"0.&'%5(':<J'=RI'<:PIJ'IPQ9OMII@6'X<JIT'bH'!E(E+E'r'G^]Z6'G^]]':<JWOT'"IS'0OTU'

       NOPPO<'9:S'>OT'TI=:9;:=;O<6'N:TT;IJ'OX='S;=R'P:9;NI6'>OT'=RI';<=I<JIJ'QXTQO@I'O>';<=;P;J:=;<?'

       89:;<=;>>E'

    H[iE      89:;<=;>>6'VT;<?@'=R;@':N=;O<':?:;<@='=RI'+;=M'O>'"IS'0OTU'>OT';=@'PX<;N;Q:9'9;:V;9;=M'X<JIT'

       bH'!E(E+E'r'G^]Z6'G^]]':<JWOT'"IS'0OTU'NOPPO<'9:S'>OT'<I?9;?I<='@XQITY;@;O<':<J'9:NU'O>'

       :QQTOQT;:=I'=T:;<;<?'O>7':L8O9;NI'O>>;NIT@':<J'VL%5('TI@QO<JIT@E'

                                                  -.")'/#&('/'
'
    H[]E      89:;<=;>>'JIP:<J':'=T;:9'VM'hXTM'O<':99'eXI@=;O<@'O>'>:N='T:;@IJ'VM'=R;@'NOPQ9:;<=E'

                                                         *
                                                      "#$%#3'
'
    H[^E      89:;<=;>>'@IIU@'NOPQI<@:=OTM':<J'QX<;=;YI'J:P:?I@'>OT'=RI'QRM@;N:9'Q:;<':<J'@X>>IT;<?'

       @RI'R:@'I<JXTIJ'>OT'=RI'Q:@='MI:T':<J':'R:9>E' $RI'JIV;9;=:=;<?6'9;>I'JI@=TOM;<?6'P;?T:;<I@'=R:='

       R:YI'@=O9I<':99'QI:NI':<J'R:QQ;<I@@'>TOP'89:;<=;>>6'R:YI'VII<'X<<INI@@:T;9M'=T;??ITIJ':<JWOT'

       ;<=I<@;>;IJ'VM'N;TNXP@=:<NI@'=R:='@ROX9J'R:YI'VII<'VTOX?R='=O':<'I<J6'R:J'=RI'(=:=I',>'"IS'

       0OTU':<J'&-*'=:UI<'N:TI'=O'XQRO9J'=RI;T'TI@QO<@;V;9;=;I@';<';PQ9IPI<=;<?':<J'I<>OTN;<?')&)'

       :<J'.-)'9:S@E'

    HG[E      89:;<=;>>'@IIU@'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'=RI';<>9;N=;O<'
'
      O>'Ig=TIPI'IPO=;O<:9'J;@=TI@@':@@ON;:=IJ'S;=R'GL'=RI'J;@TI?:TJ'O>'RIT'J;@:V;9;=;I@'':<J'HL'

      N:99OX@'T:N;@P'@X>>ITIJ':='=RI'R:<J@'O>'&-*E''

    HGGE      89:;<=;>>'@IIU@'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'=RI';<>9;N=;O<'O>'>I:T':<J'

       =ITTOT'SRI<'@RI'S:@'>OTN;V9I'=:UI<'>TOP'RIT':<J'RI9J':?:;<@='RIT'S;99'>OT':<'

       X<<INI@@:TM'Q@MNRO9O?;N:9'IY:9X:=;O<E'

    HGHE      89:;<=;>>'@IIU@'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'=RI':N='O>'TI=:9;:=;O<'=R:='



!                                                    $#!
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       QTOPQ=IJ'=RI'@X;N;JI'N:99'=O'=RI'QO9;NI'VM'&-*E' #='S:@'Y;<J;N=;YI':<J';<'<O'TI:@O<:V9I'S:M'NOX9J'

       VI'NO<@=TXIJ':@':<':==IPQ='=O'O>>IT':<M'U;<J'O>':;J'OT':@@;@=:<NI'=R:='=RI'89:;<=;>>'S:@';<'J;TI'

       <IIJ'O>E' )@':'P:==IT'O>'>:N=';='O<9M':POX<=IJ'=O'>XT=RIT':VX@I'O>'89:;<=;>>6'SR;NR'R:@'9I>='RIT'S;=R'

       JIIQ'IPO=;O<:9'@N:T@E'

    HGZE     89:;<=;>>'@IIU@'QX<;=;YI':<J'NOPQI<@:=OTM'J:P:?I@'>OT'=RI'>:N='=R:='VO=R'=RI':<=;2

       +:XN:@;:<'V;:@':<J'=RI'J;@TI?:TJ'>OT'89:;<=;>>d@'J;@:V;9;=M'<IIJ@'R:YI'VII<':'Q:==IT<'O>'VIR:Y;OT'

       J;@Q9:MIJ6'<O='O<9M'S;=R;<'&-*6'VX='S:@':9@O'@XNR':<';<@XTPOX<=:V9I'QTOV9IP'S;=R'=RI;T'9ON:9'

       O>>2@ROO='++-*';<'"IS'0OTU'+;=ME'''#=';@':'NX9=XT:9'QTOV9IP':<J'N9I:T9M'JXI'=O'@M@=IP;N'<I?9;?I<='

       @XQITY;@;O<'>TOP'=RI'=OQ'O>'=R;@'PX<;N;Q:9;=M'=RTOX?R':99'O>';=d@':?I<N;I@E'

    HGbE     89:;<=;>>'@IIU':<M'O=RIT'TI9;I>'=R:='=R;@'+OXT='JIIP@'hX@=':<J'QTOQITE'
'
'
'
'
      &:=IJ7'"IS'0OTU6'"IS'0OTU'              '
                                              '
             )X?X@='G6'H[Hb'                  '
                                                   *I@QIN=>X99M'(XVP;==IJ6'
                                              '

                                              '                 '
                                                   1I99M'5:N"I:9'
                                                   89:;<=;>>'
                                                   \[i'/'H]=R' (='
                                                   "IS'0OTU6'"0'G[[[G




!                                                   $$!
